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      Exhibit D
                                                                           Case 1:24-cv-12057 Document 1-5 Filed 08/09/24 Page 2 of 22


    1        NER Construction
             Management Corporation
    2        Source Documents: TD Bank
             Statements Operating Account 824-
    3                  Massachusetts Laborers Benefit Funds
                       Employers Remittance Report
    4                  EBSA Established Cash
                       payment of $40 per hour
    5                 2013-2016 BAC Local 3 Remittance
                      report used hourly benefits
    6        Years
             2014
    7

    8         The following are the contractual amounts due per each hour worked by each union employee payable to each fund based on the Collective Bargaining
                                                                   Agreements for the respective timeframes.
                                                                   Health                                                                              Unified M                        Total NonERI
    31       Date       Year      Check #     Amount      40.00            Pension Annuity Training        Legal    Dues LPL Fund NELLMCT      NELHSF               MCAM     Total ERISA                  Total           Payee LN    Union affiliation
                                                                 Welfare                                                                                     CAP                                   SA
   68          2/4/2014      2014    002268 $320.00        8.00   $ 58.40   $ 58.40  $ 43.20     $ 5.60   $ 1.60   $ 9.44   $ 0.56    $ 1.20    $ 1.20     $ 4.00   $ 0.80     $ 167.20       $ 17.20  $ 184.40 Christoforou, Peter        LIUNA 22
   105       2/19/2014       2014    002387 $320.00        8.00   $ 58.40   $ 58.40  $ 43.20     $ 5.60   $ 1.60   $ 9.44   $ 0.56    $ 1.20    $ 1.20     $ 4.00   $ 0.80     $ 167.20       $ 17.20  $ 184.40   Melino, Carmine          LIUNA 22
   60          2/3/2014      2014    002230     $29.00     0.73    $ 5.29    $ 5.29    $ 3.92    $ 0.51   $ 0.15   $ 0.86   $ 0.05    $ 0.11    $ 0.11     $ 0.36   $ 0.07      $ 15.15        $ 1.56    $ 16.71          Carrillo,       LIUNA 223
                                                                                                                                                                                                                       Christopher
    67        2/4/2014     2014    002269 $1,777.97     44.45   $ 324.48    $ 324.48   $ 240.03   $ 31.11   $ 8.89   $ 52.45   $ 3.11   $ 6.67   $ 6.67   $ 22.22   $ 4.44     $ 928.99       $ 95.57 $ 1,024.56          Carrillo,       LIUNA 223
                                                                                                                                                                                                                       Christopher
    71       2/11/2014     2014    002296   $665.44     16.64   $ 121.44    $ 121.44    $ 89.83   $ 11.65   $ 3.33   $ 19.63   $ 1.16   $ 2.50   $ 2.50    $ 8.32   $ 1.66     $ 347.69       $ 35.77 $ 383.46            Carrillo,       LIUNA 223
                                                                                                                                                                                                                       Christopher
   138       3/11/2014     2014    002478   $334.09      8.35    $ 60.97     $ 60.97    $ 45.10    $ 5.85   $ 1.67    $ 9.86   $ 0.58   $ 1.25   $ 1.25    $ 4.18   $ 0.84     $ 174.56       $ 17.96 $ 192.52            Carrillo,       LIUNA 223
                                                                                                                                                                                                                       Christopher
   143       3/18/2014     2014    002495   $103.42      2.59    $ 18.87     $ 18.87    $ 13.96    $ 1.81   $ 0.52    $ 3.05   $ 0.18   $ 0.39   $ 0.39    $ 1.29   $ 0.26      $ 54.04        $ 5.56    $ 59.60          Carrillo,       LIUNA 223
                                                                                                                                                                                                                       Christopher
   161       4/29/2014     2014    002657   $110.47      2.76    $ 20.16     $ 20.16    $ 14.91    $ 1.93   $ 0.55    $ 3.26   $ 0.19   $ 0.41   $ 0.41    $ 1.38   $ 0.28      $ 57.72        $ 5.94    $ 63.66          Carrillo,       LIUNA 223
                                                                                                                                                                                                                       Christopher
   191        6/3/2014     2014    002846   $980.00     24.50   $ 178.85    $ 178.85   $ 132.30   $ 17.15   $ 4.90   $ 28.91   $ 1.72   $ 3.68   $ 3.68   $ 12.25   $ 2.45     $ 512.05       $ 52.68 $ 564.73            Carrillo,       LIUNA 223
                                                                                                                                                                                                                       Christopher
   459       10/24/2014    2014    003798   $400.00     10.00    $ 73.00     $ 73.00    $ 54.00    $ 7.00   $ 2.00   $ 14.80   $ 0.70   $ 1.50   $ 1.50    $ 5.00   $ 1.00     $ 209.00       $ 24.50 $ 233.50      Tavares, Nuno         LIUNA 876
Total 2014                                                         Total                                                                                                                              $ 2907.54
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NER Construction
Management
Source Documents: TD Bank
Statements Operating Account
          Massachusetts Laborers
          Benefit Funds Employers
          EBSA Established
          Cash payment of
         2013-2016 BAC Local 3
         Remittance report used
Years
2015


 The following are the contractual amounts due per each hour worked by each union employee payable to each fund based
                           on the Collective Bargaining Agreements for the respective timeframes.
                Check                     Health                 Trainin                                         Unified        Total E Total Non
Date      Year          Amount 40.00             Pension Annuity           Legal Dues LPL Fund NELLMCT NELHSF            MCAM                        Total  Payee LN           Union affiliation
                 #                      Welfare                        g                                          MCAP            RISA      ERISA
3/31/2015 2015 4766 $ 320.00 8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84            $ 0.56 $ 1.20 $ 1.20   $ 4.00 $ 0.80 $ 169.20  $ 19.60 $ 188.80 Barao, Jose            LIUNA
                                                                                                                                                                                     138
 5/5/2015 2015 5030 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80 Barao, Jose      LIUNA
                                                                                                                                                                                     138
 6/9/2015 2015 5321 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68       $ 1.12   $ 2.40   $ 2.40   $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60 Barao, Jose      LIUNA
                                                                                                                                                                                     138
6/16/2015 2015 5397      $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80 Barao, Jose       LIUNA
                                                                                                                                                                                     138
6/24/2015 2015 5465 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28          $ 0.77   $ 1.65   $ 1.65   $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60 Barao, Jose      LIUNA
                                                                                                                                                                                     138
6/30/2015 2015 5534 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80          $ 0.70   $ 1.50   $ 1.50   $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00 Barao, Jose      LIUNA
                                                                                                                                                                                     138
7/29/2015 2015 5729 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80 Barao, Jose      LIUNA
                                                                                                                                                                                     138
8/12/2015 2015 5808 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80 Barao, Jose      LIUNA
                                                                                                                                                                                     138
9/23/2015 2015 6189      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60 Barao, Jose       LIUNA
                                                                                                                                                                                     138
10/6/2015 2015 6329      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60 Barao, Jose       LIUNA
                                                                                                                                                                                     138
10/21/2015   2015 6405 $ 380.00    9.50 $ 69.35 $ 69.35 $ 53.68 $ 6.65 $ 1.90 $ 14.06     $ 0.67   $ 1.43   $ 1.43   $ 4.75 $ 0.95   $ 200.93   $ 23.28 $ 224.20 Barao, Jose      LIUNA
                                                                                                                                                                                     138
10/28/2015   2015 6449 $ 340.00    8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60 Barao, Jose      LIUNA
                                                                                                                                                                                     138
11/4/2015 2015 6478 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68       $ 1.12   $ 2.40   $ 2.40   $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60 Barao, Jose      LIUNA
                                                                                                                                                                                     138
11/9/2015 2015 6534 $ 160.00       4.00 $ 29.20 $ 29.20 $ 22.60 $ 2.80 $ 0.80 $ 5.92      $ 0.28   $ 0.60   $ 0.60   $ 2.00 $ 0.40 $ 84.60       $ 9.80 $ 94.40 Barao, Jose       LIUNA
                                                                                                                                                                                     138
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11/17/2015   2015 68021 $ 320.00   8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80 Barao, Jose   LIUNA
                                                                                                                                                                                   138
2/25/2015 2015 4507      $ 35.00   0.88   $ 6.39   $ 6.39   $ 4.94 $ 0.61 $ 0.18 $ 1.30   $ 0.06   $ 0.13   $ 0.13    $ 0.44 $ 0.09 $ 18.51       $ 2.14 $ 20.65     Almeida,   LIUNA
                                                                                                                                                                        Scott      151
 3/4/2015 2015 4551 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80    Almeida,   LIUNA
                                                                                                                                                                        Scott      151
 3/4/2015 2015 4540 $ 160.00       4.00 $ 29.20 $ 29.20 $ 22.60 $ 2.80 $ 0.80 $ 5.92      $ 0.28   $ 0.60   $ 0.60    $ 2.00 $ 0.40 $ 84.60       $ 9.80 $ 94.40    Mendonca,   LIUNA
                                                                                                                                                                        Dinis      151
3/18/2015 2015 4646      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60     Almeida,   LIUNA
                                                                                                                                                                        Scott      151
3/18/2015 2015 4648 $ 100.00       2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00      Amaral,   LIUNA
                                                                                                                                                                       Mario       151
3/18/2015 2015 4653      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60    Mendonca,   LIUNA
                                                                                                                                                                        Dinis      151
3/25/2015 2015 4694 $ 360.00       9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40     Amaral,   LIUNA
                                                                                                                                                                       Mario       151
3/26/2015 2015 4692 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80    Almeida,   LIUNA
                                                                                                                                                                        Scott      151
3/26/2015 2015 4701 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Mendonca,   LIUNA
                                                                                                                                                                        Dinis      151
 4/7/2015 2015 4816      $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23    $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40      Amaral,   LIUNA
                                                                                                                                                                       Mario       151
 4/7/2015 2015 4823      $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08    $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80    Mendonca,   LIUNA
                                                                                                                                                                        Dinis      151
4/15/2015 2015 4896 $ 100.00       2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00      Amaral,   LIUNA
                                                                                                                                                                       Mario       151
4/15/2015 2015 4901      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60    Mendonca,   LIUNA
                                                                                                                                                                        Dinis      151
4/22/2015 2015 4939 $ 100.00       2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00      Amaral,   LIUNA
                                                                                                                                                                       Mario       151
4/29/2015 2015 4973 $ 120.00       3.00 $ 21.90 $ 21.90 $ 16.95 $ 2.10 $ 0.60 $ 4.44      $ 0.21   $ 0.45   $ 0.45    $ 1.50 $ 0.30 $ 63.45       $ 7.35 $ 70.80      Amaral,   LIUNA
                                                                                                                                                                       Mario       151
 5/5/2015 2015 5017 $ 540.00 13.50 $ 98.55 $ 98.55 $ 76.28 $ 9.45 $ 2.70 $ 19.98          $ 0.95   $ 2.03   $ 2.03    $ 6.75 $ 1.35   $ 285.53   $ 33.08 $ 318.60     Amaral,   LIUNA
                                                                                                                                                                       Mario       151
 5/5/2015 2015 5028 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80          $ 0.70   $ 1.50   $ 1.50    $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00   Mendonca,   LIUNA
                                                                                                                                                                        Dinis      151
5/12/2015 2015 5046 $ 160.00       4.00 $ 29.20 $ 29.20 $ 22.60 $ 2.80 $ 0.80 $ 5.92      $ 0.28   $ 0.60   $ 0.60    $ 2.00 $ 0.40 $ 84.60       $ 9.80 $ 94.40      Amaral,   LIUNA
                                                                                                                                                                       Mario       151
5/20/2015 2015 5177      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60      Amaral,   LIUNA
                                                                                                                                                                       Mario       151
5/20/2015 2015 5135 $ 1,080.41 27.01 $ 197.17 $ 197.17 $ 152.61 $ 18.91 $ 5.40 $ 39.98    $ 1.89   $ 4.05   $ 4.05   $ 13.51 $ 2.70   $ 571.27   $ 66.18 $ 637.44   Mendonca,   LIUNA
                                                                                                                                                                        Dinis      151
 6/3/2015 2015 5254      $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08    $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80      Amaral,   LIUNA
                                                                                                                                                                       Mario       151
 6/9/2015 2015 5311 $ 880.00 22.00 $ 160.60 $ 160.60 $ 124.30 $ 15.40 $ 4.40 $ 32.56      $ 1.54   $ 3.30   $ 3.30   $ 11.00 $ 2.20   $ 465.30   $ 53.90 $ 519.20     Amaral,   LIUNA
                                                                                                                                                                       Mario       151
                                                  Case 1:24-cv-12057 Document 1-5 Filed 08/09/24 Page 5 of 22


 6/9/2015 2015 5319 $ 880.00 22.00 $ 160.60 $ 160.60 $ 124.30 $ 15.40 $ 4.40 $ 32.56     $ 1.54   $ 3.30   $ 3.30   $ 11.00 $ 2.20   $ 465.30   $ 53.90 $ 519.20 Mendonca,   LIUNA
                                                                                                                                                                     Dinis      151
6/16/2015 2015 5389     $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60    Amaral,   LIUNA
                                                                                                                                                                    Mario       151
6/16/2015 2015 5395 $ 480.00 12.00 $ 87.60 $ 87.60 $ 67.80 $ 8.40 $ 2.40 $ 17.76         $ 0.84   $ 1.80   $ 1.80    $ 6.00 $ 1.20   $ 253.80   $ 29.40 $ 283.20 Mendonca,   LIUNA
                                                                                                                                                                     Dinis      151
6/24/2015 2015 5456 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28         $ 0.77   $ 1.65   $ 1.65    $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60   Amaral,   LIUNA
                                                                                                                                                                    Mario       151
6/24/2015 2015 5463 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28         $ 0.77   $ 1.65   $ 1.65    $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60 Mendonca,   LIUNA
                                                                                                                                                                     Dinis      151
6/30/2015 2015 5523 $ 480.00 12.00 $ 87.60 $ 87.60 $ 67.80 $ 8.40 $ 2.40 $ 17.76         $ 0.84   $ 1.80   $ 1.80    $ 6.00 $ 1.20   $ 253.80   $ 29.40 $ 283.20   Amaral,   LIUNA
                                                                                                                                                                    Mario       151
6/30/2015 2015 5532 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80 Mendonca,   LIUNA
                                                                                                                                                                     Dinis      151
 7/8/2015 2015 5573     $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08    $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80    Amaral,   LIUNA
                                                                                                                                                                    Mario       151
7/14/2015 2015 5861 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68      $ 1.12   $ 2.40   $ 2.40    $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60 Mendonca,   LIUNA
                                                                                                                                                                     Dinis      151
7/21/2015 2015 5628 $ 360.00      9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40   Amaral,   LIUNA
                                                                                                                                                                    Mario       151
7/21/2015 2015 5635 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68      $ 1.12   $ 2.40   $ 2.40    $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60 Mendonca,   LIUNA
                                                                                                                                                                     Dinis      151
7/29/2015 2015 5708 $ 500.00 12.50 $ 91.25 $ 91.25 $ 70.63 $ 8.75 $ 2.50 $ 18.50         $ 0.88   $ 1.88   $ 1.88    $ 6.25 $ 1.25   $ 264.38   $ 30.63 $ 295.00   Amaral,   LIUNA
                                                                                                                                                                    Mario       151
7/29/2015 2015 5719 $ 360.00      9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40 Mendonca,   LIUNA
                                                                                                                                                                     Dinis      151
 8/5/2015 2015 5748 $ 380.00      9.50 $ 69.35 $ 69.35 $ 53.68 $ 6.65 $ 1.90 $ 14.06     $ 0.67   $ 1.43   $ 1.43    $ 4.75 $ 0.95   $ 200.93   $ 23.28 $ 224.20   Amaral,   LIUNA
                                                                                                                                                                    Mario       151
 8/5/2015 2015 5760 $ 560.00 14.00 $ 102.20 $ 102.20 $ 79.10 $ 9.80 $ 2.80 $ 20.72       $ 0.98   $ 2.10   $ 2.10    $ 7.00 $ 1.40   $ 296.10   $ 34.30 $ 330.40 Mendonca,   LIUNA
                                                                                                                                                                     Dinis      151
8/12/2015 2015 5796 $ 760.00 19.00 $ 138.70 $ 138.70 $ 107.35 $ 13.30 $ 3.80 $ 28.12     $ 1.33   $ 2.85   $ 2.85    $ 9.50 $ 1.90   $ 401.85   $ 46.55 $ 448.40   Amaral,   LIUNA
                                                                                                                                                                    Mario       151
8/12/2015 2015 5806 $ 800.00 20.00 $ 146.00 $ 146.00 $ 113.00 $ 14.00 $ 4.00 $ 29.60     $ 1.40   $ 3.00   $ 3.00   $ 10.00 $ 2.00   $ 423.00   $ 49.00 $ 472.00 Mendonca,   LIUNA
                                                                                                                                                                     Dinis      151
8/12/2015 2015 5806 $ 800.00 20.00 $ 146.00 $ 146.00 $ 113.00 $ 14.00 $ 4.00 $ 29.60     $ 1.40   $ 3.00   $ 3.00   $ 10.00 $ 2.00   $ 423.00   $ 49.00 $ 472.00 Mendonca,   LIUNA
                                                                                                                                                                     Dinis      151
8/17/2015 2015 5830 $ 1,140.00 28.50 $ 208.05 $ 208.05 $ 161.03 $ 19.95 $ 5.70 $ 42.18   $ 2.00   $ 4.28   $ 4.28   $ 14.25 $ 2.85   $ 602.78   $ 69.83 $ 672.60   Amaral,   LIUNA
                                                                                                                                                                    Mario       151
8/18/2015 2015 5887 $ 380.00      9.50 $ 69.35 $ 69.35 $ 53.68 $ 6.65 $ 1.90 $ 14.06     $ 0.67   $ 1.43   $ 1.43    $ 4.75 $ 0.95   $ 200.93   $ 23.28 $ 224.20   Amaral,   LIUNA
                                                                                                                                                                    Mario       151
8/25/2015 2015 5949 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Amaral,   LIUNA
                                                                                                                                                                    Mario       151
 9/9/2015 2015 6053     $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60    Amaral,   LIUNA
                                                                                                                                                                    Mario       151
9/15/2015 2015 6157 $ 360.00      9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40   Amaral,   LIUNA
                                                                                                                                                                    Mario       151
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9/15/2015 2015 6161 $ 320.00        8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80 Mendonca,   LIUNA
                                                                                                                                                                       Dinis      151
9/23/2015 2015 6180 $ 100.00        2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00    Amaral,   LIUNA
                                                                                                                                                                      Mario       151
9/30/2015 2015 6269 $ 100.00        2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00    Amaral,   LIUNA
                                                                                                                                                                      Mario       151
9/30/2015 2015 6274 $ 120.00        3.00 $ 21.90 $ 21.90 $ 16.95 $ 2.10 $ 0.60 $ 4.44      $ 0.21   $ 0.45   $ 0.45    $ 1.50 $ 0.30 $ 63.45       $ 7.35 $ 70.80 Mendonca,    LIUNA
                                                                                                                                                                       Dinis      151
10/6/2015 2015 6321       $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23    $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40    Amaral,   LIUNA
                                                                                                                                                                      Mario       151
10/6/2015 2015 6327 $ 1,020.00 25.50 $ 186.15 $ 186.15 $ 144.08 $ 17.85 $ 5.10 $ 37.74     $ 1.79   $ 3.83   $ 3.83   $ 12.75 $ 2.55   $ 539.33   $ 62.48 $ 601.80 Mendonca,   LIUNA
                                                                                                                                                                       Dinis      151
10/15/2015   2015 6361 $ 200.00     5.00 $ 36.50 $ 36.50 $ 28.25 $ 3.50 $ 1.00 $ 7.40      $ 0.35   $ 0.75   $ 0.75    $ 2.50 $ 0.50   $ 105.75   $ 12.25 $ 118.00 Mendonca,   LIUNA
                                                                                                                                                                       Dinis      151
10/21/2015   2015 6399 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Amaral,   LIUNA
                                                                                                                                                                      Mario       151
11/4/2015 2015 6475 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80           $ 0.70   $ 1.50   $ 1.50    $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00 Mendonca,   LIUNA
                                                                                                                                                                       Dinis      151
11/9/2015 2015 6509 $ 320.00        8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Amaral,   LIUNA
                                                                                                                                                                      Mario       151
11/9/2015 2015 6527       $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30    $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20 Mendonca,    LIUNA
                                                                                                                                                                       Dinis      151
11/17/2015   2015 6585 $ 800.00 20.00 $ 146.00 $ 146.00 $ 113.00 $ 14.00 $ 4.00 $ 29.60    $ 1.40   $ 3.00   $ 3.00   $ 10.00 $ 2.00   $ 423.00   $ 49.00 $ 472.00   Amaral,   LIUNA
                                                                                                                                                                      Mario       151
11/24/2015   2015 6678 $ 420.00 10.50 $ 76.65 $ 76.65 $ 59.33 $ 7.35 $ 2.10 $ 15.54        $ 0.74   $ 1.58   $ 1.58    $ 5.25 $ 1.05   $ 222.08   $ 25.73 $ 247.80   Amaral,   LIUNA
                                                                                                                                                                      Mario       151
12/22/2015   2015 6885    $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60    Amaral,   LIUNA
                                                                                                                                                                      Mario       151
12/30/2015   2015 6880 $ 180.00     4.50 $ 32.85 $ 32.85 $ 25.43 $ 3.15 $ 0.90 $ 6.66      $ 0.32   $ 0.68   $ 0.68    $ 2.25 $ 0.45 $ 95.18      $ 11.03 $ 106.20 Mendonca,   LIUNA
                                                                                                                                                                       Dinis      151
2/25/2015 2015 4505       $ 35.00   0.88   $ 6.39   $ 6.39   $ 4.94 $ 0.61 $ 0.18 $ 1.30   $ 0.06   $ 0.13   $ 0.13    $ 0.44 $ 0.09 $ 18.51       $ 2.14 $ 20.65   Greeley,   LIUNA
                                                                                                                                                                       Scott      175
 3/4/2015 2015 4534 $ 120.00        3.00 $ 21.90 $ 21.90 $ 16.95 $ 2.10 $ 0.60 $ 4.44      $ 0.21   $ 0.45   $ 0.45    $ 1.50 $ 0.30 $ 63.45       $ 7.35 $ 70.80   Greeley,   LIUNA
                                                                                                                                                                       Scott      175
3/11/2015 2015 4564       $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30    $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20   Greeley,   LIUNA
                                                                                                                                                                       Scott      175
3/18/2015 2015 4657       $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30    $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20   Greeley,   LIUNA
                                                                                                                                                                       Scott      175
3/26/2015 2015 4704 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80           $ 0.70   $ 1.50   $ 1.50    $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00  Greeley,   LIUNA
                                                                                                                                                                       Scott      175
 4/7/2015 2015 4827 $ 100.00        2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00   Greeley,   LIUNA
                                                                                                                                                                       Scott      175
4/15/2015 2015 4906       $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23    $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40   Greeley,   LIUNA
                                                                                                                                                                       Scott      175
4/23/2015 2015 4946 $ 100.00        2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00   Greeley,   LIUNA
                                                                                                                                                                       Scott      175
                                                   Case 1:24-cv-12057 Document 1-5 Filed 08/09/24 Page 7 of 22


4/28/2015 2015 4969      $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23    $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40      Greeley,     LIUNA
                                                                                                                                                                           Scott      175
5/12/2015 2015 5053      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60      Greeley,     LIUNA
                                                                                                                                                                           Scott      175
 6/9/2015 2015 5323 $ 360.00       9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40     Greeley,     LIUNA
                                                                                                                                                                           Scott      175
6/16/2015 2015 5399 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28          $ 0.77   $ 1.65   $ 1.65    $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60     Greeley,     LIUNA
                                                                                                                                                                           Scott      175
8/12/2015 2015 5812 $ 360.00       9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40     Greeley,     LIUNA
                                                                                                                                                                           Scott      175
8/25/2015 2015 5957 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Greeley,     LIUNA
                                                                                                                                                                           Scott      175
10/6/2015 2015 6331 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80          $ 0.70   $ 1.50   $ 1.50    $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00     Greeley,     LIUNA
                                                                                                                                                                           Scott      175
10/15/2015   2015 6364 $ 480.00 12.00 $ 87.60 $ 87.60 $ 67.80 $ 8.40 $ 2.40 $ 17.76       $ 0.84   $ 1.80   $ 1.80    $ 6.00 $ 1.20   $ 253.80   $ 29.40 $ 283.20     Greeley,     LIUNA
                                                                                                                                                                           Scott      175
10/21/2015   2015 6408 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28       $ 0.77   $ 1.65   $ 1.65    $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60     Greeley,     LIUNA
                                                                                                                                                                           Scott      175
11/4/2015 2015 6481 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Greeley,     LIUNA
                                                                                                                                                                           Scott      175
11/9/2015 2015 6539 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Greeley,     LIUNA
                                                                                                                                                                           Scott      175
12/1/2015 2015 6696      $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08    $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80      Greeley,     LIUNA
                                                                                                                                                                           Scott      175
 3/4/2015 2015 4546 $ 720.00 18.00 $ 131.40 $ 131.40 $ 101.70 $ 12.60 $ 3.60 $ 26.64      $ 1.26   $ 2.70   $ 2.70    $ 9.00 $ 1.80   $ 380.70   $ 44.10 $ 424.80   Christoforo    LIUNA
                                                                                                                                                                       u, Peter        22
 3/4/2015 2015 4542 $ 1,020.00 25.50 $ 186.15 $ 186.15 $ 144.08 $ 17.85 $ 5.10 $ 37.74    $ 1.79   $ 3.83   $ 3.83   $ 12.75 $ 2.55   $ 539.33   $ 62.48 $ 601.80     Fonseca,     LIUNA
                                                                                                                                                                      Franciso         22
 3/4/2015 2015 4541 $ 180.00       4.50 $ 32.85 $ 32.85 $ 25.43 $ 3.15 $ 0.90 $ 6.66      $ 0.32   $ 0.68   $ 0.68    $ 2.25 $ 0.45 $ 95.18      $ 11.03 $ 106.20      Melino,     LIUNA
                                                                                                                                                                      Carmine          22
 3/4/2015 2015 4550 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80       Pavao,     LIUNA
                                                                                                                                                                         Carlos        22
 3/4/2015 2015 4547 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80          $ 0.70   $ 1.50   $ 1.50    $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00     Phinney,     LIUNA
                                                                                                                                                                          James        22
3/11/2015 2015 4572 $ 360.00       9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40     Fonseca,     LIUNA
                                                                                                                                                                      Franciso         22
3/11/2015 2015 4567 $ 100.00       2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00       Melino,     LIUNA
                                                                                                                                                                      Carmine          22
3/11/2015 2015 4566      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60        Pavao,     LIUNA
                                                                                                                                                                         Carlos        22
3/11/2015 2015 4571      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60      Phinney,     LIUNA
                                                                                                                                                                          James        22
3/18/2015 2015 4652 $ 100.00       2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00       Melino,     LIUNA
                                                                                                                                                                      Carmine          22
3/18/2015 2015 4649      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60        Pavao,     LIUNA
                                                                                                                                                                         Carlos        22
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3/26/2015 2015 4700 $ 100.00    2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38   $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00        Melino,    LIUNA
                                                                                                                                                                   Carmine         22
3/28/2015 2015 4651   $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80      Fonseca,     LIUNA
                                                                                                                                                                   Franciso        22
3/31/2015 2015 4751 $ 320.00    8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Christoforo    LIUNA
                                                                                                                                                                    u, Peter       22
3/31/2015 2015 4753 $ 100.00    2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38   $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00        Melino,    LIUNA
                                                                                                                                                                   Carmine         22
3/31/2015 2015 4780 $ 320.00    8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80        Pavao,    LIUNA
                                                                                                                                                                     Carlos        22
4/7/2015 2015 4822 $ 100.00     2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38   $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00        Melino,    LIUNA
                                                                                                                                                                   Carmine         22
4/7/2015 2015 4817 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80        Pavao,    LIUNA
                                                                                                                                                                     Carlos        22
4/7/2015 2015 4821 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Stavaros,    LIUNA
                                                                                                                                                                   Dwayne          22
4/15/2015 2015 4900 $ 320.00    8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Stavaros,    LIUNA
                                                                                                                                                                   Dwayne          22
4/23/2015 2015 4943 $ 160.00    4.00 $ 29.20 $ 29.20 $ 22.60 $ 2.80 $ 0.80 $ 5.92      $ 0.28   $ 0.60   $ 0.60   $ 2.00 $ 0.40 $ 84.60       $ 9.80 $ 94.40      Fonseca,     LIUNA
                                                                                                                                                                   Franciso        22
4/28/2015 2015 4975   $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20         Britto,   LIUNA
                                                                                                                                                                    Alberto        22
4/28/2015 2015 4971 $ 120.00    3.00 $ 21.90 $ 21.90 $ 16.95 $ 2.10 $ 0.60 $ 4.44      $ 0.21   $ 0.45   $ 0.45   $ 1.50 $ 0.30 $ 63.45       $ 7.35 $ 70.80        Melino,    LIUNA
                                                                                                                                                                   Carmine         22
4/28/2015 2015 4976 $ 320.00    8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Stavaros,    LIUNA
                                                                                                                                                                   Dwayne          22
5/5/2015 2015 5018 $ 140.00     3.50 $ 25.55 $ 25.55 $ 19.78 $ 2.45 $ 0.70 $ 5.18      $ 0.25   $ 0.53   $ 0.53   $ 1.75 $ 0.35 $ 74.03       $ 8.58 $ 82.60         Britto,   LIUNA
                                                                                                                                                                    Alberto        22
5/5/2015 2015 5023 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Christoforo    LIUNA
                                                                                                                                                                    u, Peter       22
5/5/2015 2015 5025 $ 480.00 12.00 $ 87.60 $ 87.60 $ 67.80 $ 8.40 $ 2.40 $ 17.76        $ 0.84   $ 1.80   $ 1.80   $ 6.00 $ 1.20   $ 253.80   $ 29.40 $ 283.20     Fonseca,     LIUNA
                                                                                                                                                                   Franciso        22
5/5/2015 2015 5027    $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23   $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40        Melino,    LIUNA
                                                                                                                                                                   Carmine         22
5/5/2015 2015 5024 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Stavaros,    LIUNA
                                                                                                                                                                   Dwayne          22
5/12/2015 2015 5047 $ 160.00    4.00 $ 29.20 $ 29.20 $ 22.60 $ 2.80 $ 0.80 $ 5.92      $ 0.28   $ 0.60   $ 0.60   $ 2.00 $ 0.40 $ 84.60       $ 9.80 $ 94.40         Britto,   LIUNA
                                                                                                                                                                    Alberto        22
5/12/2015 2015 5052   $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20        Melino,    LIUNA
                                                                                                                                                                   Carmine         22
5/12/2015 2015 5050 $ 320.00    8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Stavaros,    LIUNA
                                                                                                                                                                   Dwayne          22
5/20/2015 2015 5179   $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60         Britto,   LIUNA
                                                                                                                                                                    Alberto        22
5/20/2015 2015 5138   $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20        Melino,    LIUNA
                                                                                                                                                                   Carmine         22
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5/27/2015 2015 5224     $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23    $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40         Britto,   LIUNA
                                                                                                                                                                       Alberto        22
5/27/2015 2015 5223     $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08    $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80         Pavao,    LIUNA
                                                                                                                                                                        Carlos        22
 6/3/2015 2015 5256 $ 120.00      3.00 $ 21.90 $ 21.90 $ 16.95 $ 2.10 $ 0.60 $ 4.44      $ 0.21   $ 0.45   $ 0.45    $ 1.50 $ 0.30 $ 63.45       $ 7.35 $ 70.80    Christoforo    LIUNA
                                                                                                                                                                       u, Peter       22
 6/3/2015 2015 5260     $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23    $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40        Melino,    LIUNA
                                                                                                                                                                      Carmine         22
 6/9/2015 2015 5314 $ 920.00 23.00 $ 167.90 $ 167.90 $ 129.95 $ 16.10 $ 4.60 $ 34.04     $ 1.61   $ 3.45   $ 3.45   $ 11.50 $ 2.30   $ 486.45   $ 56.35 $ 542.80   Christoforo    LIUNA
                                                                                                                                                                       u, Peter       22
 6/9/2015 2015 5315 $ 980.00 24.50 $ 178.85 $ 178.85 $ 138.43 $ 17.15 $ 4.90 $ 36.26     $ 1.72   $ 3.68   $ 3.68   $ 12.25 $ 2.45   $ 518.18   $ 60.03 $ 578.20     Fonseca,     LIUNA
                                                                                                                                                                      Franciso        22
 6/9/2015 2015 5318     $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60        Melino,    LIUNA
                                                                                                                                                                      Carmine         22
 6/9/2015 2015 5312 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68      $ 1.12   $ 2.40   $ 2.40    $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60        Pavao,    LIUNA
                                                                                                                                                                        Carlos        22
6/16/2015 2015 5391     $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23    $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40         Britto,   LIUNA
                                                                                                                                                                       Alberto        22
6/16/2015 2015 5393 $ 520.00 13.00 $ 94.90 $ 94.90 $ 73.45 $ 9.10 $ 2.60 $ 19.24         $ 0.91   $ 1.95   $ 1.95    $ 6.50 $ 1.30   $ 274.95   $ 31.85 $ 306.80     Fonseca,     LIUNA
                                                                                                                                                                      Franciso        22
6/16/2015 2015 5390 $ 460.00 11.50 $ 83.95 $ 83.95 $ 64.98 $ 8.05 $ 2.30 $ 17.02         $ 0.81   $ 1.73   $ 1.73    $ 5.75 $ 1.15   $ 243.23   $ 28.18 $ 271.40        Pavao,    LIUNA
                                                                                                                                                                        Carlos        22
6/24/2015 2015 5458     $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08    $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80         Britto,   LIUNA
                                                                                                                                                                       Alberto        22
6/24/2015 2015 5462 $ 100.00      2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00        Melino,    LIUNA
                                                                                                                                                                      Carmine         22
6/24/2015 2015 5457 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28         $ 0.77   $ 1.65   $ 1.65    $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60        Pavao,    LIUNA
                                                                                                                                                                        Carlos        22
6/30/2015 2015 5525 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80        Britto,   LIUNA
                                                                                                                                                                       Alberto        22
6/30/2015 2015 5526 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80         $ 0.70   $ 1.50   $ 1.50    $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00   Christoforo    LIUNA
                                                                                                                                                                       u, Peter       22
6/30/2015 2015 5528 $ 480.00 12.00 $ 87.60 $ 87.60 $ 67.80 $ 8.40 $ 2.40 $ 17.76         $ 0.84   $ 1.80   $ 1.80    $ 6.00 $ 1.20   $ 253.80   $ 29.40 $ 283.20     Fonseca,     LIUNA
                                                                                                                                                                      Franciso        22
6/30/2015 2015 5531     $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30    $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20        Melino,    LIUNA
                                                                                                                                                                      Carmine         22
6/30/2015 2015 5524 $ 360.00      9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40        Pavao,    LIUNA
                                                                                                                                                                        Carlos        22
6/30/2015 2015 5258 $ 360.00      9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40     Stavaros,    LIUNA
                                                                                                                                                                      Dwayne          22
 7/8/2015 2015 5574     $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08    $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80      Fonseca,     LIUNA
                                                                                                                                                                      Franciso        22
 7/8/2015 2015 5575     $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60        Melino,    LIUNA
                                                                                                                                                                      Carmine         22
7/14/2015 2015 5856 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68      $ 1.12   $ 2.40   $ 2.40    $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60        Britto,   LIUNA
                                                                                                                                                                       Alberto        22
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7/14/2015 2015 5858 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84    $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80 Christoforo    LIUNA
                                                                                                                                                                   u, Peter       22
7/15/2015 2015 5868 $ 180.00     4.50 $ 32.85 $ 32.85 $ 25.43 $ 3.15 $ 0.90 $ 6.66     $ 0.32   $ 0.68   $ 0.68    $ 2.25 $ 0.45 $ 95.18      $ 11.03 $ 106.20   Fonseca,     LIUNA
                                                                                                                                                                  Franciso        22
7/21/2015 2015 5629 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84    $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80      Britto,   LIUNA
                                                                                                                                                                   Alberto        22
7/21/2015 2015 5631 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84    $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80 Christoforo    LIUNA
                                                                                                                                                                   u, Peter       22
7/21/2015 2015 5633 $ 720.00 18.00 $ 131.40 $ 131.40 $ 101.70 $ 12.60 $ 3.60 $ 26.64   $ 1.26   $ 2.70   $ 2.70    $ 9.00 $ 1.80   $ 380.70   $ 44.10 $ 424.80   Fonseca,     LIUNA
                                                                                                                                                                  Franciso        22
7/29/2015 2015 5725 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84    $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80      Britto,   LIUNA
                                                                                                                                                                   Alberto        22
7/29/2015 2015 5711 $ 600.00 15.00 $ 109.50 $ 109.50 $ 84.75 $ 10.50 $ 3.00 $ 22.20    $ 1.05   $ 2.25   $ 2.25    $ 7.50 $ 1.50   $ 317.25   $ 36.75 $ 354.00 Christoforo    LIUNA
                                                                                                                                                                   u, Peter       22
7/29/2015 2015 5714 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80       $ 0.70   $ 1.50   $ 1.50    $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00   Fonseca,     LIUNA
                                                                                                                                                                  Franciso        22
7/29/2015 2015 5718 $ 660.00 16.50 $ 120.45 $ 120.45 $ 93.23 $ 11.55 $ 3.30 $ 24.42    $ 1.16   $ 2.48   $ 2.48    $ 8.25 $ 1.65   $ 348.98   $ 40.43 $ 389.40     Melino,    LIUNA
                                                                                                                                                                  Carmine         22
7/29/2015 2015 5728 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84    $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Melino,    LIUNA
                                                                                                                                                                  Carmine         22
7/29/2015 2015 5709 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68    $ 1.12   $ 2.40   $ 2.40    $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60      Pavao,    LIUNA
                                                                                                                                                                    Carlos        22
7/29/2015 2015 5713 $ 240.00     6.00 $ 43.80 $ 43.80 $ 33.90 $ 4.20 $ 1.20 $ 8.88     $ 0.42   $ 0.90   $ 0.90    $ 3.00 $ 0.60   $ 126.90   $ 14.70 $ 141.60   Stavaros,    LIUNA
                                                                                                                                                                  Dwayne          22
 8/3/2015 2015 5759 $ 500.00 12.50 $ 91.25 $ 91.25 $ 70.63 $ 8.75 $ 2.50 $ 18.50       $ 0.88   $ 1.88   $ 1.88    $ 6.25 $ 1.25   $ 264.38   $ 30.63 $ 295.00     Melino,    LIUNA
                                                                                                                                                                  Carmine         22
 8/5/2015 2015 5750 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84    $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80      Britto,   LIUNA
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 8/5/2015 2015 5753 $ 360.00     9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32    $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40 Christoforo    LIUNA
                                                                                                                                                                   u, Peter       22
 8/5/2015 2015 5755 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68    $ 1.12   $ 2.40   $ 2.40    $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60   Fonseca,     LIUNA
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 8/5/2015 2015 5749 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84    $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80      Pavao,    LIUNA
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8/12/2015 2015 5798 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84    $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80      Britto,   LIUNA
                                                                                                                                                                   Alberto        22
8/12/2015 2015 5800 $ 900.00 22.50 $ 164.25 $ 164.25 $ 127.13 $ 15.75 $ 4.50 $ 33.30   $ 1.58   $ 3.38   $ 3.38   $ 11.25 $ 2.25   $ 475.88   $ 55.13 $ 531.00 Christoforo    LIUNA
                                                                                                                                                                   u, Peter       22
8/12/2015 2015 5802 $ 840.00 21.00 $ 153.30 $ 153.30 $ 118.65 $ 14.70 $ 4.20 $ 31.08   $ 1.47   $ 3.15   $ 3.15   $ 10.50 $ 2.10   $ 444.15   $ 51.45 $ 495.60   Fonseca,     LIUNA
                                                                                                                                                                  Franciso        22
8/12/2015 2015 5805 $ 160.00     4.00 $ 29.20 $ 29.20 $ 22.60 $ 2.80 $ 0.80 $ 5.92     $ 0.28   $ 0.60   $ 0.60    $ 2.00 $ 0.40 $ 84.60       $ 9.80 $ 94.40      Melino,    LIUNA
                                                                                                                                                                  Carmine         22
8/12/2015 2015 5797 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84    $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80      Pavao,    LIUNA
                                                                                                                                                                    Carlos        22
8/17/2015 2015 5833 $ 840.00 21.00 $ 153.30 $ 153.30 $ 118.65 $ 14.70 $ 4.20 $ 31.08   $ 1.47   $ 3.15   $ 3.15   $ 10.50 $ 2.10   $ 444.15   $ 51.45 $ 495.60   Fonseca,     LIUNA
                                                                                                                                                                  Franciso        22
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8/18/2015 2015 5888 $ 240.00       6.00 $ 43.80 $ 43.80 $ 33.90 $ 4.20 $ 1.20 $ 8.88      $ 0.42   $ 0.90   $ 0.90   $ 3.00 $ 0.60   $ 126.90   $ 14.70 $ 141.60        Britto,   LIUNA
                                                                                                                                                                      Alberto         22
8/18/2015 2015 5889 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Christoforo    LIUNA
                                                                                                                                                                      u, Peter        22
8/18/2015 2015 5891 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Fonseca,     LIUNA
                                                                                                                                                                     Franciso         22
8/25/2015 2015 5950 $ 100.00       2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38   $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00         Britto,   LIUNA
                                                                                                                                                                      Alberto         22
8/25/2015 2015 5952 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80          $ 0.70   $ 1.50   $ 1.50   $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00     Fonseca,     LIUNA
                                                                                                                                                                     Franciso         22
 9/2/2015 2015 5993 $ 120.00       3.00 $ 21.90 $ 21.90 $ 16.95 $ 2.10 $ 0.60 $ 4.44      $ 0.21   $ 0.45   $ 0.45   $ 1.50 $ 0.30 $ 63.45       $ 7.35 $ 70.80         Britto,   LIUNA
                                                                                                                                                                      Alberto         22
 9/2/2015 2015 5993 $ 120.00       3.00 $ 21.90 $ 21.90 $ 16.95 $ 2.10 $ 0.60 $ 4.44      $ 0.21   $ 0.45   $ 0.45   $ 1.50 $ 0.30 $ 63.45       $ 7.35 $ 70.80         Britto,   LIUNA
                                                                                                                                                                      Alberto         22
 9/2/2015 2015 5995 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Christoforo    LIUNA
                                                                                                                                                                      u, Peter        22
 9/2/2015 2015 5998 $ 340.00       8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60      Melino,     LIUNA
                                                                                                                                                                     Carmine          22
 9/9/2015 2015 6054      $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20         Britto,   LIUNA
                                                                                                                                                                      Alberto         22
 9/9/2015 2015 6056 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Christoforo    LIUNA
                                                                                                                                                                      u, Peter        22
 9/9/2015 2015 6058 $ 160.00       4.00 $ 29.20 $ 29.20 $ 22.60 $ 2.80 $ 0.80 $ 5.92      $ 0.28   $ 0.60   $ 0.60   $ 2.00 $ 0.40 $ 84.60       $ 9.80 $ 94.40      Fonseca,     LIUNA
                                                                                                                                                                     Franciso         22
9/10/2015 2015 6061      $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80       Melino,     LIUNA
                                                                                                                                                                     Carmine          22
9/15/2015 2015 6159 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80          $ 0.70   $ 1.50   $ 1.50   $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00     Fonseca,     LIUNA
                                                                                                                                                                     Franciso         22
9/15/2015 2015 6158 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80       Pavao,     LIUNA
                                                                                                                                                                        Carlos        22
9/23/2015 2015 6184 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28          $ 0.77   $ 1.65   $ 1.65   $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60   Christoforo    LIUNA
                                                                                                                                                                      u, Peter        22
9/23/2015 2015 6186 $ 360.00       9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35   $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40     Fonseca,     LIUNA
                                                                                                                                                                     Franciso         22
9/23/2015 2015 6188      $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80       Melino,     LIUNA
                                                                                                                                                                     Carmine          22
9/23/2015 2015 6181 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80       Pavao,     LIUNA
                                                                                                                                                                        Carlos        22
10/6/2015 2015 6323 $ 560.00 14.00 $ 102.20 $ 102.20 $ 79.10 $ 9.80 $ 2.80 $ 20.72        $ 0.98   $ 2.10   $ 2.10   $ 7.00 $ 1.40   $ 296.10   $ 34.30 $ 330.40   Christoforo    LIUNA
                                                                                                                                                                      u, Peter        22
10/6/2015 2015 6324 $ 420.00 10.50 $ 76.65 $ 76.65 $ 59.33 $ 7.35 $ 2.10 $ 15.54          $ 0.74   $ 1.58   $ 1.58   $ 5.25 $ 1.05   $ 222.08   $ 25.73 $ 247.80     Fonseca,     LIUNA
                                                                                                                                                                    Francisco         22
10/15/2015   2015 6354   $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80         Britto,   LIUNA
                                                                                                                                                                      Alberto         22
10/15/2015   2015 6356 $ 320.00    8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Christoforo    LIUNA
                                                                                                                                                                      u, Peter        22
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10/15/2015   2015 6358 $ 280.00    7.00 $ 51.10 $ 51.10 $ 39.55 $ 4.90 $ 1.40 $ 10.36     $ 0.49   $ 1.05   $ 1.05   $ 3.50 $ 0.70   $ 148.05   $ 17.15 $ 165.20     Fonseca,    LIUNA
                                                                                                                                                                    Francisco        22
10/15/2015   2015 6360 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80       $ 0.70   $ 1.50   $ 1.50   $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00      Melino,    LIUNA
                                                                                                                                                                     Carmine         22
10/21/2015   2015 6400 $ 340.00    8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60     Fonseca,    LIUNA
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10/28/2015   2015 6447 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28       $ 0.77   $ 1.65   $ 1.65   $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60     Fonseca,    LIUNA
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10/28/2015   2015 6441 $ 320.00    8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80       Pavao,    LIUNA
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11/4/2015 2015 20485 $ 500.00 12.50 $ 91.25 $ 91.25 $ 70.63 $ 8.75 $ 2.50 $ 18.50         $ 0.88   $ 1.88   $ 1.88   $ 6.25 $ 1.25   $ 264.38   $ 30.63 $ 295.00   Christoforo   LIUNA
                                                                                                                                                                      u, Peter       22
11/4/2015 2015 6471 $ 360.00       9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35   $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40     Fonseca,    LIUNA
                                                                                                                                                                    Francisco        22
11/4/2015 2015 6474 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80      Melino,    LIUNA
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11/4/2015 2015 6468 $ 160.00       4.00 $ 29.20 $ 29.20 $ 22.60 $ 2.80 $ 0.80 $ 5.92      $ 0.28   $ 0.60   $ 0.60   $ 2.00 $ 0.40 $ 84.60       $ 9.80 $ 94.40        Pavao,    LIUNA
                                                                                                                                                                        Carlos       22
11/9/2015 2015 6513 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Christoforo   LIUNA
                                                                                                                                                                      u, Peter       22
11/9/2015 2015 6520 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28          $ 0.77   $ 1.65   $ 1.65   $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60     Fonseca,    LIUNA
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11/9/2015 2015 6510 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28          $ 0.77   $ 1.65   $ 1.65   $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60       Pavao,    LIUNA
                                                                                                                                                                        Carlos       22
11/17/2015   2015 6586 $ 540.00 13.50 $ 98.55 $ 98.55 $ 76.28 $ 9.45 $ 2.70 $ 19.98       $ 0.95   $ 2.03   $ 2.03   $ 6.75 $ 1.35   $ 285.53   $ 33.08 $ 318.60   Christoforo   LIUNA
                                                                                                                                                                      u, Peter       22
11/17/2015   2015 6583 $ 200.00    5.00 $ 36.50 $ 36.50 $ 28.25 $ 3.50 $ 1.00 $ 7.40      $ 0.35   $ 0.75   $ 0.75   $ 2.50 $ 0.50   $ 105.75   $ 12.25 $ 118.00      Melino,    LIUNA
                                                                                                                                                                     Carmine         22
11/17/2015   2015 6589 $ 320.00    8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80       Pavao,    LIUNA
                                                                                                                                                                        Carlos       22
11/24/2015   2015 6675   $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20    Christoforo   LIUNA
                                                                                                                                                                      u, Peter       22
11/24/2015   2015 6677 $ 360.00    9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35   $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40      Melino,    LIUNA
                                                                                                                                                                     Carmine         22
11/24/2015   2015 6674 $ 320.00    8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80       Pavao,    LIUNA
                                                                                                                                                                        Carlos       22
12/1/2015 2015 6697      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60      Fonseca,    LIUNA
                                                                                                                                                                    Francisco        22
12/1/2015 2015 6695      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60       Melino,    LIUNA
                                                                                                                                                                     Carmine         22
12/9/2015 2015 6783 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Christoforo   LIUNA
                                                                                                                                                                      u, Peter       22
12/9/2015 2015 6785      $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23   $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40      Fonseca,    LIUNA
                                                                                                                                                                    Francisco        22
12/9/2015 2015 6787      $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80       Melino,    LIUNA
                                                                                                                                                                     Carmine         22
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12/16/2015   2015 6822 $ 100.00      2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18    $ 0.38    $ 0.38    $ 1.25 $ 0.25 $ 52.88         $ 6.13 $ 59.00 Christoforo      LIUNA
                                                                                                                                                                             u, Peter       22
12/22/2015   2015 6883 $ 280.00      7.00 $ 51.10 $ 51.10 $ 39.55 $ 4.90 $ 1.40 $ 10.36     $ 0.49    $ 1.05    $ 1.05    $ 3.50 $ 0.70    $ 148.05    $ 17.15 $ 165.20 Christoforo     LIUNA
                                                                                                                                                                             u, Peter       22
12/28/2015   2015 6956     $ 60.00   1.50 $ 10.95 $ 10.95    $ 8.48 $ 1.05 $ 0.30 $ 2.22    $ 0.11    $ 0.23    $ 0.23    $ 0.75 $ 0.15 $ 31.73         $ 3.68 $ 35.40 Christoforo      LIUNA
                                                                                                                                                                             u, Peter       22
12/30/2015   2015 824.93 $ 824.93 20.62 $ 150.55 $ 150.55 $ 116.52 $ 14.44 $ 4.12 $ 30.52   $ 1.44    $ 3.09    $ 3.09   $ 10.31 $ 2.06    $ 436.18    $ 50.53 $ 486.71        Pavao,   LIUNA
                                                                                                                                                                               Carlos       22
1/20/2015 2015 4308 $ 234.06         5.85 $ 42.72 $ 42.72 $ 31.60 $ 4.10 $ 1.17 $ 8.66      $ 0.41    $ 0.88    $ 0.88    $ 2.93 $ 0.59    $ 122.30    $ 14.34 $ 136.63 O'Donnell,      LIUNA
                                                                                                                                                                                  Pat      223
 2/4/2015 2015 4364 $ 720.00 18.00 $ 131.40 $ 131.40 $ 101.70 $ 12.60 $ 3.60 $ 26.64        $ 1.26    $ 2.70    $ 2.70    $ 9.00 $ 1.80    $ 380.70    $ 44.10 $ 424.80     Carrillo,   LIUNA
                                                                                                                                                                          Christopher      223
 3/4/2015 2015 4536 $ 3,721.79 93.04 $ 679.23 $ 679.23 $ 525.70 $ 65.13 $ 18.61 $ 137.71    $ 6.51   $ 13.96   $ 13.96   $ 46.52 $ 9.30 $ 1,967.90    $ 227.96 $ 2,195.86   Carrillo,   LIUNA
                                                                                                                                                                          Christopher      223
3/26/2015 2015 4696 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68         $ 1.12    $ 2.40    $ 2.40    $ 8.00 $ 1.60    $ 338.40    $ 39.20 $ 377.60     Carrillo,   LIUNA
                                                                                                                                                                          Christopher      223
 4/7/2015 2015 4818 $ 3,239.28 80.98 $ 591.17 $ 591.17 $ 457.55 $ 56.69 $ 16.20 $ 119.85    $ 5.67   $ 12.15   $ 12.15   $ 40.49 $ 8.10 $ 1,712.77    $ 198.41 $ 1,911.18   Carrillo,   LIUNA
                                                                                                                                                                          Christopher      223
4/15/2015 2015 4897 $ 2,315.77 57.89 $ 422.63 $ 422.63 $ 327.10 $ 40.53 $ 11.58 $ 85.68     $ 4.05    $ 8.68    $ 8.68   $ 28.95 $ 5.79 $ 1,224.46    $ 141.84 $ 1,366.30   Carrillo,   LIUNA
                                                                                                                                                                          Christopher      223
4/22/2015 2015 4940 $ 2,534.00 63.35 $ 462.46 $ 462.46 $ 357.93 $ 44.35 $ 12.67 $ 93.76     $ 4.43    $ 9.50    $ 9.50   $ 31.68 $ 6.34 $ 1,339.85    $ 155.21 $ 1,495.06   Carrillo,   LIUNA
                                                                                                                                                                          Christopher      223
4/28/2015 2015 4979 $ 2,937.34 73.43 $ 536.06 $ 536.06 $ 414.90 $ 51.40 $ 14.69 $ 108.68    $ 5.14   $ 11.02   $ 11.02   $ 36.72 $ 7.34 $ 1,553.12    $ 179.91 $ 1,733.03   Carrillo,   LIUNA
                                                                                                                                                                          Christopher      223
 5/5/2015 2015 5020 $ 2,012.67 50.32 $ 367.31 $ 367.31 $ 284.29 $ 35.22 $ 10.06 $ 74.47     $ 3.52    $ 7.55    $ 7.55   $ 25.16 $ 5.03 $ 1,064.20    $ 123.28 $ 1,187.48   Carrillo,   LIUNA
                                                                                                                                                                          Christopher      223
5/14/2015 2015 5074 $ 1,641.68 41.04 $ 299.61 $ 299.61 $ 231.89 $ 28.73 $ 8.21 $ 60.74      $ 2.87    $ 6.16    $ 6.16   $ 20.52 $ 4.10    $ 868.04   $ 100.55 $ 968.59     Carrillo,   LIUNA
                                                                                                                                                                          Christopher      223
5/20/2015 2015 5180 $ 278.80         6.97 $ 50.88 $ 50.88 $ 39.38 $ 4.88 $ 1.39 $ 10.32     $ 0.49    $ 1.05    $ 1.05    $ 3.49 $ 0.70    $ 147.42    $ 17.08 $ 164.49     Carrillo,   LIUNA
                                                                                                                                                                          Christopher      223
6/16/2015 2015 5392 $ 636.29 15.91 $ 116.12 $ 116.12 $ 89.88 $ 11.14 $ 3.18 $ 23.54         $ 1.11    $ 2.39    $ 2.39    $ 7.95 $ 1.59    $ 336.44    $ 38.97 $ 375.41     Carrillo,   LIUNA
                                                                                                                                                                          Christopher      223
7/15/2015 2015 5870 $ 100.00         2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14    $ 0.30    $ 0.30    $ 1.00 $ 0.20 $ 42.30         $ 4.90 $ 47.20          Rich,   LIUNA
                                                                                                                                                                             Michael       223
7/29/2015 2015 5722 $ 660.00 13.20 $ 96.36 $ 96.36 $ 74.58 $ 9.24 $ 2.64 $ 19.54            $ 0.92    $ 1.98    $ 1.98    $ 6.60 $ 1.32    $ 279.18    $ 32.34 $ 311.52         Rich,   LIUNA
                                                                                                                                                                             Michael       223
7/29/2015 2015 5731 $ 320.00         6.40 $ 46.72 $ 46.72 $ 36.16 $ 4.48 $ 1.28 $ 9.47      $ 0.45    $ 0.96    $ 0.96    $ 3.20 $ 0.64    $ 135.36    $ 15.68 $ 151.04         Rich,   LIUNA
                                                                                                                                                                             Michael       223
 8/5/2015 2015 5763 $ 500.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80            $ 0.70    $ 1.50    $ 1.50    $ 5.00 $ 1.00    $ 211.50    $ 24.50 $ 236.00         Rich,   LIUNA
                                                                                                                                                                             Michael       223
8/12/2015 2015 5810 $ 800.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68         $ 1.12    $ 2.40    $ 2.40    $ 8.00 $ 1.60    $ 338.40    $ 39.20 $ 377.60         Rich,   LIUNA
                                                                                                                                                                             Michael       223
8/18/2015 2015 5894 $ 600.00 12.00 $ 87.60 $ 87.60 $ 67.80 $ 8.40 $ 2.40 $ 17.76            $ 0.84    $ 1.80    $ 1.80    $ 6.00 $ 1.20    $ 253.80    $ 29.40 $ 283.20         Rich,   LIUNA
                                                                                                                                                                             Michael       223
8/25/2015 2015 5956 $ 500.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80            $ 0.70    $ 1.50    $ 1.50    $ 5.00 $ 1.00    $ 211.50    $ 24.50 $ 236.00         Rich,   LIUNA
                                                                                                                                                                             Michael       223
                                                   Case 1:24-cv-12057 Document 1-5 Filed 08/09/24 Page 14 of 22


 9/2/2015 2015 6000 $ 425.00       8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60       Rich,    LIUNA
                                                                                                                                                                     Michael       223
 9/9/2015 2015 6063      $ 25.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80        Rich,    LIUNA
                                                                                                                                                                     Michael       223
9/30/2015 2015 6275 $ 193.82       4.85 $ 35.37 $ 35.37 $ 27.38 $ 3.39 $ 0.97 $ 7.17      $ 0.34   $ 0.73   $ 0.73   $ 2.42 $ 0.48   $ 102.48   $ 11.87 $ 114.35   O'Donnell,   LIUNA
                                                                                                                                                                         Pat       223
9/30/2015 2015 6277      $ 50.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60        Rich,    LIUNA
                                                                                                                                                                     Michael       223
10/15/2015   2015 6363 $ 600.00 12.00 $ 87.60 $ 87.60 $ 67.80 $ 8.40 $ 2.40 $ 17.76       $ 0.84   $ 1.80   $ 1.80   $ 6.00 $ 1.20   $ 253.80   $ 29.40 $ 283.20       Rich,    LIUNA
                                                                                                                                                                     Michael       223
10/21/2015   2015 6407 $ 550.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28       $ 0.77   $ 1.65   $ 1.65   $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60       Rich,    LIUNA
                                                                                                                                                                     Michael       223
11/4/2015 2015 6476 $ 239.04       5.98 $ 43.62 $ 43.62 $ 33.76 $ 4.18 $ 1.20 $ 8.84      $ 0.42   $ 0.90   $ 0.90   $ 2.99 $ 0.60   $ 126.39   $ 14.64 $ 141.03   O'Donnell,   LIUNA
                                                                                                                                                                         Pat       223
11/4/2015 2015 6480 $ 125.00       2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38   $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00        Rich,    LIUNA
                                                                                                                                                                     Michael       223
11/9/2015 2015 6538      $ 75.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23   $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40        Rich,    LIUNA
                                                                                                                                                                     Michael       223
11/17/2015   2015 6582 $ 275.00    5.50 $ 40.15 $ 40.15 $ 31.08 $ 3.85 $ 1.10 $ 8.14      $ 0.39   $ 0.83   $ 0.83   $ 2.75 $ 0.55   $ 116.33   $ 13.48 $ 129.80       Rich,    LIUNA
                                                                                                                                                                     Michael       223
11/24/2015   2015 6676 $ 500.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80       $ 0.70   $ 1.50   $ 1.50   $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00       Rich,    LIUNA
                                                                                                                                                                     Michael       223
12/1/2015 2015 6694      $ 50.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60        Rich,    LIUNA
                                                                                                                                                                     Michael       223
12/9/2015 2015 6790      $ 50.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60        Rich,    LIUNA
                                                                                                                                                                     Michael       223
12/22/2015   2015 6884   $ 25.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80        Rich,    LIUNA
                                                                                                                                                                     Michael       223
3/26/2015 2015 4699 $ 340.00       8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
 5/5/2015 2015 5026 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80          $ 0.70   $ 1.50   $ 1.50   $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
 6/9/2015 2015 5317 $ 720.00 18.00 $ 131.40 $ 131.40 $ 101.70 $ 12.60 $ 3.60 $ 26.64      $ 1.26   $ 2.70   $ 2.70   $ 9.00 $ 1.80   $ 380.70   $ 44.10 $ 424.80     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
6/24/2015 2015 5461 $ 340.00       8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
6/30/2015 2015 5530 $ 480.00 12.00 $ 87.60 $ 87.60 $ 67.80 $ 8.40 $ 2.40 $ 17.76          $ 0.84   $ 1.80   $ 1.80   $ 6.00 $ 1.20   $ 253.80   $ 29.40 $ 283.20     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
7/29/2015 2015 5717 $ 480.00 12.00 $ 87.60 $ 87.60 $ 67.80 $ 8.40 $ 2.40 $ 17.76          $ 0.84   $ 1.80   $ 1.80   $ 6.00 $ 1.20   $ 253.80   $ 29.40 $ 283.20     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
7/29/2015 2015 5727 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
 8/5/2015 2015 5758 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80          $ 0.70   $ 1.50   $ 1.50   $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
8/12/2015 2015 5804 $ 680.00 17.00 $ 124.10 $ 124.10 $ 96.05 $ 11.90 $ 3.40 $ 25.16       $ 1.19   $ 2.55   $ 2.55   $ 8.50 $ 1.70   $ 359.55   $ 41.65 $ 401.20     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
                                                   Case 1:24-cv-12057 Document 1-5 Filed 08/09/24 Page 15 of 22


8/17/2015 2015 5834 $ 680.00 17.00 $ 124.10 $ 124.10 $ 96.05 $ 11.90 $ 3.40 $ 25.16       $ 1.19   $ 2.55   $ 2.55   $ 8.50 $ 1.70   $ 359.55   $ 41.65 $ 401.20     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
8/18/2015 2015 5892 $ 360.00       9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35   $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
8/25/2015 2015 5954 $ 340.00       8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
 9/9/2015 2015 6060      $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23   $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40      Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
10/6/2015 2015 6326 $ 360.00       9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35   $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
10/21/2015   2015 6403 $ 320.00    8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
11/4/2015 2015 6473 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
12/28/2015   2015 6955   $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60      Macedo,    LIUNA
                                                                                                                                                                     Gregory       271
 3/4/2015 2015 4537      $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23   $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40     Carvalho,   LIUNA
                                                                                                                                                                      Michael      610
3/11/2015 2015 4573      $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20      Almeida,   LIUNA
                                                                                                                                                                       Joseph      610
3/11/2015 2015 4565      $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23   $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40     Carvalho,   LIUNA
                                                                                                                                                                      Michael      610
3/18/2015 2015 4647      $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20      Almeida,   LIUNA
                                                                                                                                                                       Jose L      610
3/26/2015 2015 4693 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80          $ 0.70   $ 1.50   $ 1.50   $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00     Almeida,   LIUNA
                                                                                                                                                                       Jose L      610
3/26/2015 2015 4697 $ 340.00       8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60    Carvalho,   LIUNA
                                                                                                                                                                      Michael      610
 4/7/2015 2015 4815 $ 100.00       2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38   $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00      Almeida,   LIUNA
                                                                                                                                                                       Jose L      610
 4/7/2015 2015 4819      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60     Carvalho,   LIUNA
                                                                                                                                                                      Michael      610
4/15/2015 2015 4895      $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20      Almeida,   LIUNA
                                                                                                                                                                       Jose L      610
4/15/2015 2015 4898      $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20     Carvalho,   LIUNA
                                                                                                                                                                      Michael      610
4/22/2015 2015 4938 $ 100.00       2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38   $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00      Almeida,   LIUNA
                                                                                                                                                                       Jose L      610
4/22/2015 2015 4941      $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23   $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40     Carvalho,   LIUNA
                                                                                                                                                                      Michael      610
4/28/2015 2015 4970 $ 500.00 12.50 $ 91.25 $ 91.25 $ 70.63 $ 8.75 $ 2.50 $ 18.50          $ 0.88   $ 1.88   $ 1.88   $ 6.25 $ 1.25   $ 264.38   $ 30.63 $ 295.00     Almeida,   LIUNA
                                                                                                                                                                       Jose L      610
4/28/2015 2015 4974 $ 100.00       2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38   $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00    Broughton,   LIUNA
                                                                                                                                                                         Kyle      610
 5/5/2015 2015 5019 $ 140.00       3.50 $ 25.55 $ 25.55 $ 19.78 $ 2.45 $ 0.70 $ 5.18      $ 0.25   $ 0.53   $ 0.53   $ 1.75 $ 0.35 $ 74.03       $ 8.58 $ 82.60    Broughton,   LIUNA
                                                                                                                                                                         Kyle      610
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 5/5/2015 2015 5021 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80    Carvalho,   LIUNA
                                                                                                                                                                     Michael      610
5/12/2015 2015 5048 $ 160.00      4.00 $ 29.20 $ 29.20 $ 22.60 $ 2.80 $ 0.80 $ 5.92      $ 0.28   $ 0.60   $ 0.60   $ 2.00 $ 0.40 $ 84.60       $ 9.80 $ 94.40    Broughton,   LIUNA
                                                                                                                                                                        Kyle      610
5/27/2015 2015 5222     $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80      Almeida,   LIUNA
                                                                                                                                                                      Jose L      610
5/27/2015 2015 5221 $ 180.00      4.50 $ 32.85 $ 32.85 $ 25.43 $ 3.15 $ 0.90 $ 6.66      $ 0.32   $ 0.68   $ 0.68   $ 2.25 $ 0.45 $ 95.18      $ 11.03 $ 106.20     Almeida,   LIUNA
                                                                                                                                                                      Joseph      610
5/27/2015 2015 5225 $ 340.00      8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60     DeSilva,   LIUNA
                                                                                                                                                                    Leandro       610
 6/3/2015 2015 5257 $ 460.00 11.50 $ 83.95 $ 83.95 $ 64.98 $ 8.05 $ 2.30 $ 17.02         $ 0.81   $ 1.73   $ 1.73   $ 5.75 $ 1.15   $ 243.23   $ 28.18 $ 271.40     DeSilva,   LIUNA
                                                                                                                                                                    Leandro       610
 6/9/2015 2015 5310 $ 480.00 12.00 $ 87.60 $ 87.60 $ 67.80 $ 8.40 $ 2.40 $ 17.76         $ 0.84   $ 1.80   $ 1.80   $ 6.00 $ 1.20   $ 253.80   $ 29.40 $ 283.20     Almeida,   LIUNA
                                                                                                                                                                      Joseph      610
 6/9/2015 2015 5313 $ 720.00 18.00 $ 131.40 $ 131.40 $ 101.70 $ 12.60 $ 3.60 $ 26.64     $ 1.26   $ 2.70   $ 2.70   $ 9.00 $ 1.80   $ 380.70   $ 44.10 $ 424.80    Carvalho,   LIUNA
                                                                                                                                                                     Michael      610
6/16/2015 2015 5388     $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60      Almeida,   LIUNA
                                                                                                                                                                      Joseph      610
6/24/2015 2015 5459 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28         $ 0.77   $ 1.65   $ 1.65   $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60     DeSilva,   LIUNA
                                                                                                                                                                    Leandro       610
6/30/2015 2015 5527 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80         $ 0.70   $ 1.50   $ 1.50   $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00     DeSilva,   LIUNA
                                                                                                                                                                    Leandro       610
 7/6/2015 2015 5565 $ 340.00      8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60     DeSilva,   LIUNA
                                                                                                                                                                    Leandro       610
 7/8/2015 2015 5572     $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80      Almeida,   LIUNA
                                                                                                                                                                      Joseph      610
7/14/2015 2015 5855     $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80      Almeida,   LIUNA
                                                                                                                                                                      Jose L      610
7/14/2015 2015 5857 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68      $ 1.12   $ 2.40   $ 2.40   $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60    Carvalho,   LIUNA
                                                                                                                                                                     Michael      610
7/21/2015 2015 5627 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Almeida,   LIUNA
                                                                                                                                                                      Jose L      610
7/21/2015 2015 5630 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80    Carvalho,   LIUNA
                                                                                                                                                                     Michael      610
7/21/2015 2015 5632 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     DeSilva,   LIUNA
                                                                                                                                                                    Leandro       610
7/29/2015 2015 5707 $ 420.00 10.50 $ 76.65 $ 76.65 $ 59.33 $ 7.35 $ 2.10 $ 15.54         $ 0.74   $ 1.58   $ 1.58   $ 5.25 $ 1.05   $ 222.08   $ 25.73 $ 247.80     Almeida,   LIUNA
                                                                                                                                                                      Jose L      610
7/29/2015 2015 5706 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     Almeida,   LIUNA
                                                                                                                                                                      Joseph      610
7/29/2015 2015 5710 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80    Carvalho,   LIUNA
                                                                                                                                                                     Michael      610
7/29/2015 2015 5712 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28         $ 0.77   $ 1.65   $ 1.65   $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60     DeSilva,   LIUNA
                                                                                                                                                                    Leandro       610
7/29/2015 2015 5726 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80     DeSilva,   LIUNA
                                                                                                                                                                    Leandro       610
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 8/5/2015 2015 5747 $ 340.00      8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60   Almeida,    LIUNA
                                                                                                                                                                     Jose L      610
 8/5/2015 2015 5751 $ 420.00 10.50 $ 76.65 $ 76.65 $ 59.33 $ 7.35 $ 2.10 $ 15.54         $ 0.74   $ 1.58   $ 1.58   $ 5.25 $ 1.05   $ 222.08   $ 25.73 $ 247.80   Carvalho,   LIUNA
                                                                                                                                                                   Michael       610
 8/5/2015 2015 5754 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80    DeSilva,   LIUNA
                                                                                                                                                                   Leandro       610
8/12/2015 2015 5795 $ 560.00 14.00 $ 102.20 $ 102.20 $ 79.10 $ 9.80 $ 2.80 $ 20.72       $ 0.98   $ 2.10   $ 2.10   $ 7.00 $ 1.40   $ 296.10   $ 34.30 $ 330.40   Almeida,    LIUNA
                                                                                                                                                                     Joseph      610
8/12/2015 2015 5799 $ 760.00 19.00 $ 138.70 $ 138.70 $ 107.35 $ 13.30 $ 3.80 $ 28.12     $ 1.33   $ 2.85   $ 2.85   $ 9.50 $ 1.90   $ 401.85   $ 46.55 $ 448.40   Carvalho,   LIUNA
                                                                                                                                                                   Michael       610
8/12/2015 2015 5799 $ 760.00 19.00 $ 138.70 $ 138.70 $ 107.35 $ 13.30 $ 3.80 $ 28.12     $ 1.33   $ 2.85   $ 2.85   $ 9.50 $ 1.90   $ 401.85   $ 46.55 $ 448.40   Carvalho,   LIUNA
                                                                                                                                                                   Michael       610
8/12/2015 2015 5801 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80    DeSilva,   LIUNA
                                                                                                                                                                   Leandro       610
8/13/2015 2015 5822 $ 280.00      7.00 $ 51.10 $ 51.10 $ 39.55 $ 4.90 $ 1.40 $ 10.36     $ 0.49   $ 1.05   $ 1.05   $ 3.50 $ 0.70   $ 148.05   $ 17.15 $ 165.20   Almeida,    LIUNA
                                                                                                                                                                     Joseph      610
8/18/2015 2015 5886     $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80    Almeida,    LIUNA
                                                                                                                                                                     Joseph      610
8/18/2015 2015 5890 $ 340.00      8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60    DeSilva,   LIUNA
                                                                                                                                                                   Leandro       610
8/25/2015 2015 5948     $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80    Almeida,    LIUNA
                                                                                                                                                                     Jose L      610
8/25/2015 2015 5947     $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20    Almeida,    LIUNA
                                                                                                                                                                     Joseph      610
 9/2/2015 2015 5991 $ 120.00      3.00 $ 21.90 $ 21.90 $ 16.95 $ 2.10 $ 0.60 $ 4.44      $ 0.21   $ 0.45   $ 0.45   $ 1.50 $ 0.30 $ 63.45       $ 7.35 $ 70.80    Almeida,    LIUNA
                                                                                                                                                                     Joseph      610
 9/2/2015 2015 5991 $ 120.00      3.00 $ 21.90 $ 21.90 $ 16.95 $ 2.10 $ 0.60 $ 4.44      $ 0.21   $ 0.45   $ 0.45   $ 1.50 $ 0.30 $ 63.45       $ 7.35 $ 70.80    Almeida,    LIUNA
                                                                                                                                                                     Joseph      610
 9/2/2015 2015 5996 $ 120.00      3.00 $ 21.90 $ 21.90 $ 16.95 $ 2.10 $ 0.60 $ 4.44      $ 0.21   $ 0.45   $ 0.45   $ 1.50 $ 0.30 $ 63.45       $ 7.35 $ 70.80     DeSilva,   LIUNA
                                                                                                                                                                   Leandro       610
 9/9/2015 2015 6052     $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20    Almeida,    LIUNA
                                                                                                                                                                     Joseph      610
 9/9/2015 2015 6057     $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60     DeSilva,   LIUNA
                                                                                                                                                                   Leandro       610
9/15/2015 2015 6156 $ 180.00      4.50 $ 32.85 $ 32.85 $ 25.43 $ 3.15 $ 0.90 $ 6.66      $ 0.32   $ 0.68   $ 0.68   $ 2.25 $ 0.45 $ 95.18      $ 11.03 $ 106.20   Almeida,    LIUNA
                                                                                                                                                                     Jose L      610
9/15/2015 2015 6155     $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60    Almeida,    LIUNA
                                                                                                                                                                     Joseph      610
9/23/2015 2015 6182 $ 100.00      2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38   $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00    Carvalho,   LIUNA
                                                                                                                                                                   Michael       610
9/23/2015 2015 6185     $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23   $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40     DeSilva,   LIUNA
                                                                                                                                                                   Leandro       610
9/30/2015 2015 6270 $ 100.00      2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38   $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00    Carvalho,   LIUNA
                                                                                                                                                                   Michael       610
10/6/2015 2015 6320 $ 240.00      6.00 $ 43.80 $ 43.80 $ 33.90 $ 4.20 $ 1.20 $ 8.88      $ 0.42   $ 0.90   $ 0.90   $ 3.00 $ 0.60   $ 126.90   $ 14.70 $ 141.60   Almeida,    LIUNA
                                                                                                                                                                     Jose L      610
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10/6/2015 2015 6319 $ 160.00        4.00 $ 29.20 $ 29.20 $ 22.60 $ 2.80 $ 0.80 $ 5.92      $ 0.28   $ 0.60   $ 0.60   $ 2.00 $ 0.40 $ 84.60       $ 9.80 $ 94.40    Almeida,     LIUNA
                                                                                                                                                                       Joseph       610
10/6/2015 2015 6322 $ 340.00        8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28   $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60   Carvalho,    LIUNA
                                                                                                                                                                     Michael        610
10/15/2015   2015 6352 $ 200.00     5.00 $ 36.50 $ 36.50 $ 28.25 $ 3.50 $ 1.00 $ 7.40      $ 0.35   $ 0.75   $ 0.75   $ 2.50 $ 0.50   $ 105.75   $ 12.25 $ 118.00   Almeida,     LIUNA
                                                                                                                                                                       Jose L       610
10/15/2015   2015 6351 $ 360.00     9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35   $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40   Almeida,     LIUNA
                                                                                                                                                                       Joseph       610
10/15/2015   2015 6355 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Carvalho,    LIUNA
                                                                                                                                                                     Michael        610
10/21/2015   2015 6398 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Almeida,     LIUNA
                                                                                                                                                                       Joseph       610
11/4/2015 2015 6467 $ 320.00        8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Almeida,     LIUNA
                                                                                                                                                                       Joseph       610
11/4/2015 2015 6469 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28           $ 0.77   $ 1.65   $ 1.65   $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60   Carvalho,    LIUNA
                                                                                                                                                                     Michael        610
11/9/2015 2015 6508       $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80    Almeida,     LIUNA
                                                                                                                                                                       Jose L       610
11/9/2015 2015 6506       $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20    Almeida,     LIUNA
                                                                                                                                                                       Joseph       610
11/9/2015 2015 6518       $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20     DeSilva,    LIUNA
                                                                                                                                                                     Leandro        610
11/17/2015   2015 6587 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68     $ 1.12   $ 2.40   $ 2.40   $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60   Almeida,     LIUNA
                                                                                                                                                                       Joseph       610
11/24/2015   2015 6680 $ 320.00     8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20   $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Carvalho,    LIUNA
                                                                                                                                                                     Michael        610
11/24/2015   2015 6673    $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20     DeSilva,    LIUNA
                                                                                                                                                                     Leandro        610
12/1/2015 2015 6693       $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15   $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60    Carvalho,    LIUNA
                                                                                                                                                                     Michael        610
12/9/2015 2015 6782 $ 420.00 10.50 $ 76.65 $ 76.65 $ 59.33 $ 7.35 $ 2.10 $ 15.54           $ 0.74   $ 1.58   $ 1.58   $ 5.25 $ 1.05   $ 222.08   $ 25.73 $ 247.80   Carvalho,    LIUNA
                                                                                                                                                                     Michael        610
12/9/2015 2015 6784       $ 80.00   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30   $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20     DeSilva,    LIUNA
                                                                                                                                                                     Leandro        610
12/16/2015   2015 6821    $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08   $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80    Carvalho,    LIUNA
                                                                                                                                                                     Michael        610
12/22/2015   2015 6881 $ 200.00     5.00 $ 36.50 $ 36.50 $ 28.25 $ 3.50 $ 1.00 $ 7.40      $ 0.35   $ 0.75   $ 0.75   $ 2.50 $ 0.50   $ 105.75   $ 12.25 $ 118.00   Carvalho,    LIUNA
                                                                                                                                                                     Michael        610
12/28/2015   2015 6957    $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23   $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40    Carvalho,    LIUNA
                                                                                                                                                                     Michael        610
 3/4/2015 2015 4539 $ 520.00 13.00 $ 94.90 $ 94.90 $ 73.45 $ 9.10 $ 2.60 $ 19.24           $ 0.91   $ 1.95   $ 1.95   $ 6.50 $ 1.30   $ 274.95   $ 31.85 $ 306.80    Oliveria,   LIUNA
                                                                                                                                                                      Richard       876
 3/4/2015 2015 4544 $ 500.00 11.43 $ 83.43 $ 83.43 $ 64.57 $ 8.00 $ 2.29 $ 16.91           $ 0.80   $ 1.71   $ 1.71   $ 5.71 $ 1.14   $ 241.71   $ 28.00 $ 269.71   Pimentel,    LIUNA
                                                                                                                                                                       Carlos       876
 3/4/2015 2015 4538 $ 540.00 13.50 $ 98.55 $ 98.55 $ 76.28 $ 9.45 $ 2.70 $ 19.98           $ 0.95   $ 2.03   $ 2.03   $ 6.75 $ 1.35   $ 285.53   $ 33.08 $ 318.60    Tavares,    LIUNA
                                                                                                                                                                        Nuno        876
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3/11/2015 2015 4568 $ 100.00      2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00     Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
3/11/2015 2015 4569 $ 100.00      2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00     Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
3/18/2015 2015 4654 $ 145.63      3.64 $ 26.58 $ 26.58 $ 20.57 $ 2.55 $ 0.73 $ 5.39      $ 0.25   $ 0.55   $ 0.55    $ 1.82 $ 0.36 $ 77.00       $ 8.92 $ 85.92     Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
3/18/2015 2015 4656 $ 484.37 11.07 $ 80.82 $ 80.82 $ 62.55 $ 7.75 $ 2.21 $ 16.39         $ 0.77   $ 1.66   $ 1.66    $ 5.54 $ 1.11   $ 234.16   $ 27.12 $ 261.28   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
3/18/2015 2015 4659     $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08    $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80     Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
3/26/2015 2015 4702 $ 393.75      9.84 $ 71.86 $ 71.86 $ 55.62 $ 6.89 $ 1.97 $ 14.57     $ 0.69   $ 1.48   $ 1.48    $ 4.92 $ 0.98   $ 208.20   $ 24.12 $ 232.31    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
3/26/2015 2015 4703 $ 350.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
3/26/2015 2015 4705 $ 420.00 10.50 $ 76.65 $ 76.65 $ 59.33 $ 7.35 $ 2.10 $ 15.54         $ 0.74   $ 1.58   $ 1.58    $ 5.25 $ 1.05   $ 222.08   $ 25.73 $ 247.80    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
3/31/2015 2015 4756 $ 393.75      9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
3/31/2015 2015 4758 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
 4/7/2015 2015 4826 $ 393.75      9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
 4/7/2015 2015 4828 $ 260.00      6.50 $ 47.45 $ 47.45 $ 36.73 $ 4.55 $ 1.30 $ 9.62      $ 0.46   $ 0.98   $ 0.98    $ 3.25 $ 0.65   $ 137.48   $ 15.93 $ 153.40    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
4/15/2015 2015 4904 $ 109.37      2.73 $ 19.96 $ 19.96 $ 15.45 $ 1.91 $ 0.55 $ 4.05      $ 0.19   $ 0.41   $ 0.41    $ 1.37 $ 0.27 $ 57.83       $ 6.70 $ 64.53     Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
4/15/2015 2015 4907 $ 240.00      6.00 $ 43.80 $ 43.80 $ 33.90 $ 4.20 $ 1.20 $ 8.88      $ 0.42   $ 0.90   $ 0.90    $ 3.00 $ 0.60   $ 126.90   $ 14.70 $ 141.60    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
4/22/2015 2015 4944 $ 110.00      2.75 $ 20.08 $ 20.08 $ 15.54 $ 1.93 $ 0.55 $ 4.07      $ 0.19   $ 0.41   $ 0.41    $ 1.38 $ 0.28 $ 58.16       $ 6.74 $ 64.90     Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
4/22/2015 2015 4945 $ 350.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
4/22/2015 2015 4947     $ 60.00   1.50 $ 10.95 $ 10.95     $ 8.48 $ 1.05 $ 0.30 $ 2.22   $ 0.11   $ 0.23   $ 0.23    $ 0.75 $ 0.15 $ 31.73       $ 3.68 $ 35.40     Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
4/29/2015 2015 4972     $ 20.00   0.50   $ 3.65   $ 3.65   $ 2.83 $ 0.35 $ 0.10 $ 0.74   $ 0.04   $ 0.08   $ 0.08    $ 0.25 $ 0.05 $ 10.58       $ 1.23 $ 11.80     Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
 5/5/2015 2015 5029 $ 437.50 10.94 $ 79.84 $ 79.84 $ 61.80 $ 7.66 $ 2.19 $ 16.19         $ 0.77   $ 1.64   $ 1.64    $ 5.47 $ 1.09   $ 231.33   $ 26.80 $ 258.13    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
 5/5/2015 2015 5033 $ 400.00 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80         $ 0.70   $ 1.50   $ 1.50    $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
5/13/2015 2015 5032 $ 437.50 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80         $ 0.70   $ 1.50   $ 1.50    $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
5/20/2015 2015 5184 $ 820.00 20.50 $ 149.65 $ 149.65 $ 115.83 $ 14.35 $ 4.10 $ 30.34     $ 1.44   $ 3.08   $ 3.08   $ 10.25 $ 2.05   $ 433.58   $ 50.23 $ 483.80    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
5/27/2015 2015 5227     $ 43.75   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60    Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
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 6/3/2015 2015 5261     $ 87.50   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30    $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20    Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
 6/9/2015 2015 5320 $ 656.25 16.41 $ 119.77 $ 119.77 $ 92.70 $ 11.48 $ 3.28 $ 24.28      $ 1.15   $ 2.46   $ 2.46    $ 8.20 $ 1.64   $ 346.99   $ 40.20 $ 387.19    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
 6/9/2015 2015 5322 $ 1,028.13 23.50 $ 171.55 $ 171.55 $ 132.78 $ 16.45 $ 4.70 $ 34.78   $ 1.65   $ 3.53   $ 3.53   $ 11.75 $ 2.35   $ 497.03   $ 57.58 $ 554.60   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
 6/9/2015 2015 5324 $ 680.00 17.00 $ 124.10 $ 124.10 $ 96.05 $ 11.90 $ 3.40 $ 25.16      $ 1.19   $ 2.55   $ 2.55    $ 8.50 $ 1.70   $ 359.55   $ 41.65 $ 401.20    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
6/16/2015 2015 5396 $ 875.00 21.88 $ 159.69 $ 159.69 $ 123.59 $ 15.31 $ 4.38 $ 32.38     $ 1.53   $ 3.28   $ 3.28   $ 10.94 $ 2.19   $ 462.66   $ 53.59 $ 516.25    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
6/16/2015 2015 5398 $ 590.63 13.50 $ 98.55 $ 98.55 $ 76.28 $ 9.45 $ 2.70 $ 19.98         $ 0.95   $ 2.03   $ 2.03    $ 6.75 $ 1.35   $ 285.53   $ 33.08 $ 318.60   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
6/16/2015 2015 5400 $ 460.00 11.50 $ 83.95 $ 83.95 $ 64.98 $ 8.05 $ 2.30 $ 17.02         $ 0.81   $ 1.73   $ 1.73    $ 5.75 $ 1.15   $ 243.23   $ 28.18 $ 271.40    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
6/24/2015 2015 5464 $ 481.25 12.03 $ 87.83 $ 87.83 $ 67.98 $ 8.42 $ 2.41 $ 17.81         $ 0.84   $ 1.80   $ 1.80    $ 6.02 $ 1.20   $ 254.46   $ 29.48 $ 283.94    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
6/24/2015 2015 5466 $ 440.00 11.00 $ 80.30 $ 80.30 $ 62.15 $ 7.70 $ 2.20 $ 16.28         $ 0.77   $ 1.65   $ 1.65    $ 5.50 $ 1.10   $ 232.65   $ 26.95 $ 259.60    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
6/30/2015 2015 5533 $ 350.00      8.75 $ 63.88 $ 63.88 $ 49.44 $ 6.13 $ 1.75 $ 12.95     $ 0.61   $ 1.31   $ 1.31    $ 4.38 $ 0.88   $ 185.06   $ 21.44 $ 206.50    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
6/30/2015 2015 5535 $ 437.50 10.00 $ 73.00 $ 73.00 $ 56.50 $ 7.00 $ 2.00 $ 14.80         $ 0.70   $ 1.50   $ 1.50    $ 5.00 $ 1.00   $ 211.50   $ 24.50 $ 236.00   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
 7/8/2015 2015 5577     $ 80.00   1.83 $ 13.35 $ 13.35 $ 10.33 $ 1.28 $ 0.37 $ 2.71      $ 0.13   $ 0.27   $ 0.27    $ 0.91 $ 0.18 $ 38.67       $ 4.48 $ 43.15    Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
7/14/2015 2015 5862 $ 831.25 19.00 $ 138.70 $ 138.70 $ 107.35 $ 13.30 $ 3.80 $ 28.12     $ 1.33   $ 2.85   $ 2.85    $ 9.50 $ 1.90   $ 401.85   $ 46.55 $ 448.40   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
7/14/2015 2015 5863 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80    Tavares,    LIUNA
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7/21/2015 2015 5636 $ 350.00      8.75 $ 63.88 $ 63.88 $ 49.44 $ 6.13 $ 1.75 $ 12.95     $ 0.61   $ 1.31   $ 1.31    $ 4.38 $ 0.88   $ 185.06   $ 21.44 $ 206.50    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
7/21/2015 2015 5637     $ 65.62   1.50 $ 10.95 $ 10.95     $ 8.47 $ 1.05 $ 0.30 $ 2.22   $ 0.10   $ 0.22   $ 0.22    $ 0.75 $ 0.15 $ 31.72       $ 3.67 $ 35.40    Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
7/21/2015 2015 5638 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68      $ 1.12   $ 2.40   $ 2.40    $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60    Tavares,    LIUNA
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7/29/2015 2015 5720 $ 393.75      9.84 $ 71.86 $ 71.86 $ 55.62 $ 6.89 $ 1.97 $ 14.57     $ 0.69   $ 1.48   $ 1.48    $ 4.92 $ 0.98   $ 208.20   $ 24.12 $ 232.31    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
7/29/2015 2015 5721     $ 43.75   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60    Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
7/29/2015 2015 5724 $ 620.00 15.50 $ 113.15 $ 113.15 $ 87.58 $ 10.85 $ 3.10 $ 22.94      $ 1.09   $ 2.33   $ 2.33    $ 7.75 $ 1.55   $ 327.83   $ 37.98 $ 365.80    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
7/29/2015 2015 5732 $ 320.00      8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
 8/5/2015 2015 5761 $ 656.25 16.41 $ 119.77 $ 119.77 $ 92.70 $ 11.48 $ 3.28 $ 24.28      $ 1.15   $ 2.46   $ 2.46    $ 8.20 $ 1.64   $ 346.99   $ 40.20 $ 387.19    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
 8/5/2015 2015 5762 $ 590.62 13.50 $ 98.55 $ 98.55 $ 76.27 $ 9.45 $ 2.70 $ 19.98         $ 0.94   $ 2.02   $ 2.02    $ 6.75 $ 1.35   $ 285.52   $ 33.07 $ 318.60   Pimentel,    LIUNA
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 8/5/2015 2015 5764 $ 460.00 11.50 $ 83.95 $ 83.95 $ 64.98 $ 8.05 $ 2.30 $ 17.02         $ 0.81   $ 1.73   $ 1.73    $ 5.75 $ 1.15   $ 243.23   $ 28.18 $ 271.40    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
8/12/2015 2015 5807 $ 831.25 20.78 $ 151.70 $ 151.70 $ 117.41 $ 14.55 $ 4.16 $ 30.76     $ 1.45   $ 3.12   $ 3.12   $ 10.39 $ 2.08   $ 439.52   $ 50.91 $ 490.44    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
8/12/2015 2015 5809 $ 1,137.50 26.00 $ 189.80 $ 189.80 $ 146.90 $ 18.20 $ 5.20 $ 38.48   $ 1.82   $ 3.90   $ 3.90   $ 13.00 $ 2.60   $ 549.90   $ 63.70 $ 613.60   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
8/12/2015 2015 5813 $ 860.00 21.50 $ 156.95 $ 156.95 $ 121.48 $ 15.05 $ 4.30 $ 31.82     $ 1.51   $ 3.23   $ 3.23   $ 10.75 $ 2.15   $ 454.73   $ 52.68 $ 507.40    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
8/17/2015 2015 5836 $ 831.25 20.78 $ 151.70 $ 151.70 $ 117.41 $ 14.55 $ 4.16 $ 30.76     $ 1.45   $ 3.12   $ 3.12   $ 10.39 $ 2.08   $ 439.52   $ 50.91 $ 490.44    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
8/17/2015 2015 5837 $ 860.00 21.50 $ 156.95 $ 156.95 $ 121.48 $ 15.05 $ 4.30 $ 31.82     $ 1.51   $ 3.23   $ 3.23   $ 10.75 $ 2.15   $ 454.73   $ 52.68 $ 507.40    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
8/18/2015 2015 5893 $ 459.37 10.50 $ 76.65 $ 76.65 $ 59.32 $ 7.35 $ 2.10 $ 15.54         $ 0.73   $ 1.57   $ 1.57    $ 5.25 $ 1.05   $ 222.07   $ 25.72 $ 247.80   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
8/25/2015 2015 5955 $ 109.37       2.50 $ 18.25 $ 18.25 $ 14.12 $ 1.75 $ 0.50 $ 3.70     $ 0.17   $ 0.37   $ 0.37    $ 1.25 $ 0.25 $ 52.87       $ 6.12 $ 59.00    Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
 9/2/2015 2015 5999 $ 196.88       4.50 $ 32.85 $ 32.85 $ 25.43 $ 3.15 $ 0.90 $ 6.66     $ 0.32   $ 0.68   $ 0.68    $ 2.25 $ 0.45 $ 95.18      $ 11.03 $ 106.20   Pimentel,    LIUNA
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9/10/2015 2015 6062 $ 109.37       2.50 $ 18.25 $ 18.25 $ 14.12 $ 1.75 $ 0.50 $ 3.70     $ 0.17   $ 0.37   $ 0.37    $ 1.25 $ 0.25 $ 52.87       $ 6.12 $ 59.00    Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
9/15/2015 2015 6162 $ 350.00       8.75 $ 63.88 $ 63.88 $ 49.44 $ 6.13 $ 1.75 $ 12.95    $ 0.61   $ 1.31   $ 1.31    $ 4.38 $ 0.88   $ 185.06   $ 21.44 $ 206.50    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
9/15/2015 2015 6163      $ 87.50   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96     $ 0.14   $ 0.30   $ 0.30    $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20    Pimentel,    LIUNA
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9/23/2015 2015 6190 $ 109.38       2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70     $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00    Pimentel,    LIUNA
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9/23/2015 2015 6191 $ 320.00       8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84    $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80    Tavares,    LIUNA
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9/30/2015 2015 66276 $ 196.88      4.50 $ 32.85 $ 32.85 $ 25.43 $ 3.15 $ 0.90 $ 6.66     $ 0.32   $ 0.68   $ 0.68    $ 2.25 $ 0.45 $ 95.18      $ 11.03 $ 106.20   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
10/6/2015 2015 6328 $ 853.13 21.33 $ 155.70 $ 155.70 $ 120.50 $ 14.93 $ 4.27 $ 31.57     $ 1.49   $ 3.20   $ 3.20   $ 10.66 $ 2.13   $ 451.09   $ 52.25 $ 503.35    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
10/6/2015 2015 6330 $ 984.38 22.50 $ 164.25 $ 164.25 $ 127.13 $ 15.75 $ 4.50 $ 33.30     $ 1.58   $ 3.38   $ 3.38   $ 11.25 $ 2.25   $ 475.88   $ 55.13 $ 531.00   Pimentel,    LIUNA
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10/8/2015 2015 6332 $ 940.00 23.50 $ 171.55 $ 171.55 $ 132.78 $ 16.45 $ 4.70 $ 34.78     $ 1.65   $ 3.53   $ 3.53   $ 11.75 $ 2.35   $ 497.03   $ 57.58 $ 554.60    Tavares,    LIUNA
                                                                                                                                                                       Nuno        876
10/15/2015   2015 6362   $ 80.00   1.83 $ 13.35 $ 13.35 $ 10.33 $ 1.28 $ 0.37 $ 2.71     $ 0.13   $ 0.27   $ 0.27    $ 0.91 $ 0.18 $ 38.67       $ 4.48 $ 43.15    Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
10/21/2015   2015 6404 $ 350.00    8.75 $ 63.88 $ 63.88 $ 49.44 $ 6.13 $ 1.75 $ 12.95    $ 0.61   $ 1.31   $ 1.31    $ 4.38 $ 0.88   $ 185.06   $ 21.44 $ 206.50    Oliveria,   LIUNA
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10/21/2015   2015 6406 $ 393.75    9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32    $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40   Pimentel,    LIUNA
                                                                                                                                                                      Carlos       876
10/28/2015   2015 6448 $ 481.25 12.03 $ 87.83 $ 87.83 $ 67.98 $ 8.42 $ 2.41 $ 17.81      $ 0.84   $ 1.80   $ 1.80    $ 6.02 $ 1.20   $ 254.46   $ 29.48 $ 283.94    Oliveria,   LIUNA
                                                                                                                                                                     Richard       876
10/28/2015   2015 6450 $ 430.75    9.85 $ 71.87 $ 71.87 $ 55.63 $ 6.89 $ 1.97 $ 14.57    $ 0.69   $ 1.48   $ 1.48    $ 4.92 $ 0.98   $ 208.24   $ 24.12 $ 232.36   Pimentel,    LIUNA
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10/28/2015   2015 6453 $ 320.00    8.00 $ 58.40 $ 58.40 $ 45.20 $ 5.60 $ 1.60 $ 11.84     $ 0.56   $ 1.20   $ 1.20    $ 4.00 $ 0.80   $ 169.20   $ 19.60 $ 188.80       Tavares,    LIUNA
                                                                                                                                                                           Nuno        876
11/4/2015 2015 6477 $ 700.00 17.50 $ 127.75 $ 127.75 $ 98.88 $ 12.25 $ 3.50 $ 25.90       $ 1.23   $ 2.63   $ 2.63    $ 8.75 $ 1.75   $ 370.13   $ 42.88 $ 413.00       Oliveria,   LIUNA
                                                                                                                                                                         Richard       876
11/4/2015 2015 6479 $ 853.12 19.50 $ 142.35 $ 142.35 $ 110.17 $ 13.65 $ 3.90 $ 28.86      $ 1.36   $ 2.92   $ 2.92    $ 9.75 $ 1.95   $ 412.42   $ 47.77 $ 460.20      Pimentel,    LIUNA
                                                                                                                                                                          Carlos       876
11/4/2015 2015 6482 $ 900.00 22.50 $ 164.25 $ 164.25 $ 127.13 $ 15.75 $ 4.50 $ 33.30      $ 1.58   $ 3.38   $ 3.38   $ 11.25 $ 2.25   $ 475.88   $ 55.13 $ 531.00       Tavares,    LIUNA
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11/9/2015 2015 6533 $ 437.50 10.94 $ 79.84 $ 79.84 $ 61.80 $ 7.66 $ 2.19 $ 16.19          $ 0.77   $ 1.64   $ 1.64    $ 5.47 $ 1.09   $ 231.33   $ 26.80 $ 258.13       Oliveria,   LIUNA
                                                                                                                                                                         Richard       876
11/9/2015 2015 6535 $ 612.50 14.00 $ 102.20 $ 102.20 $ 79.10 $ 9.80 $ 2.80 $ 20.72        $ 0.98   $ 2.10   $ 2.10    $ 7.00 $ 1.40   $ 296.10   $ 34.30 $ 330.40      Pimentel,    LIUNA
                                                                                                                                                                          Carlos       876
11/17/2015   2015 6584 $ 525.00 13.13 $ 95.81 $ 95.81 $ 74.16 $ 9.19 $ 2.63 $ 19.43       $ 0.92   $ 1.97   $ 1.97    $ 6.56 $ 1.31   $ 277.59   $ 32.16 $ 309.75       Oliveria,   LIUNA
                                                                                                                                                                         Richard       876
11/17/2015   2015 6581   $ 87.50   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30    $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20       Pimentel,    LIUNA
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11/19/2015   2015 6672 $ 568.75 13.00 $ 94.90 $ 94.90 $ 73.45 $ 9.10 $ 2.60 $ 19.24       $ 0.91   $ 1.95   $ 1.95    $ 6.50 $ 1.30   $ 274.95   $ 31.85 $ 306.80      Pimentel,    LIUNA
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11/24/2015   2015 6671 $ 350.00    8.75 $ 63.88 $ 63.88 $ 49.44 $ 6.13 $ 1.75 $ 12.95     $ 0.61   $ 1.31   $ 1.31    $ 4.38 $ 0.88   $ 185.06   $ 21.44 $ 206.50       Oliveria,   LIUNA
                                                                                                                                                                         Richard       876
11/24/2015   2015 6679 $ 360.00    9.00 $ 65.70 $ 65.70 $ 50.85 $ 6.30 $ 1.80 $ 13.32     $ 0.63   $ 1.35   $ 1.35    $ 4.50 $ 0.90   $ 190.35   $ 22.05 $ 212.40       Tavares,    LIUNA
                                                                                                                                                                           Nuno        876
12/1/2015 2015 6699 $ 175.00       4.00 $ 29.20 $ 29.20 $ 22.60 $ 2.80 $ 0.80 $ 5.92      $ 0.28   $ 0.60   $ 0.60    $ 2.00 $ 0.40 $ 84.60       $ 9.80 $ 94.40       Pimentel,    LIUNA
                                                                                                                                                                          Carlos       876
12/1/2015 2015 6698      $ 40.00   1.00   $ 7.30   $ 7.30   $ 5.65 $ 0.70 $ 0.20 $ 1.48   $ 0.07   $ 0.15   $ 0.15    $ 0.50 $ 0.10 $ 21.15       $ 2.45 $ 23.60        Tavares,    LIUNA
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12/9/2015 2015 6788 $ 350.00       8.75 $ 63.88 $ 63.88 $ 49.44 $ 6.13 $ 1.75 $ 12.95     $ 0.61   $ 1.31   $ 1.31    $ 4.38 $ 0.88   $ 185.06   $ 21.44 $ 206.50       Oliveria,   LIUNA
                                                                                                                                                                         Richard       876
12/9/2015 2015 6789 $ 371.88       8.50 $ 62.05 $ 62.05 $ 48.03 $ 5.95 $ 1.70 $ 12.58     $ 0.60   $ 1.28   $ 1.28    $ 4.25 $ 0.85   $ 179.78   $ 20.83 $ 200.60      Pimentel,    LIUNA
                                                                                                                                                                          Carlos       876
12/9/2015 2015 6791 $ 640.00 16.00 $ 116.80 $ 116.80 $ 90.40 $ 11.20 $ 3.20 $ 23.68       $ 1.12   $ 2.40   $ 2.40    $ 8.00 $ 1.60   $ 338.40   $ 39.20 $ 377.60       Tavares,    LIUNA
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12/16/2015   2015 6824 $ 109.38    2.50 $ 18.25 $ 18.25 $ 14.13 $ 1.75 $ 0.50 $ 3.70      $ 0.18   $ 0.38   $ 0.38    $ 1.25 $ 0.25 $ 52.88       $ 6.13 $ 59.00       Pimentel,    LIUNA
                                                                                                                                                                          Carlos       876
12/22/2015   2015 6882   $ 87.50   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30    $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20       Pimentel,    LIUNA
                                                                                                                                                                          Carlos       876
12/28/2015   2015 6958   $ 87.50   2.00 $ 14.60 $ 14.60 $ 11.30 $ 1.40 $ 0.40 $ 2.96      $ 0.14   $ 0.30   $ 0.30    $ 1.00 $ 0.20 $ 42.30       $ 4.90 $ 47.20       Pimentel,    LIUNA
                                                                                                                                                                          Carlos       876
Total                                                                                                                                                    $ 93,750.79
